              Case:20-01947-jwb    Doc #:358 Filed: 10/12/2020         Page 1 of 108




                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF MICHIGAN

In re:
                                                            Chapter 11
BARFLY VENTURES, LLC, et al, 1                              Case No. 20-01947-jwb
                                                            Hon. James W. Boyd
                       Debtors.
                                                            Jointly Administered
______________________________________/

                NOTICE OF FILING OF REVISED PROPOSED SALE ORDER


         PLEASE TAKE NOTICE OF THE FOLLOWING:

         1.      On July 9, 2020, the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) filed their Motion for Entry of (I) an Order (A) Approving Bidding

Procedures and Scheduling Sale Hearing, (B) Approving the Form of the Asset Purchase

Agreement, Including the Bid Protections, and (C) Granting Related Relief; and (II) an Order

(A) Authorizing the Sale of Substantially all of the Debtors’ Assets Free and Clear of All Liens,

Claims, Encumbrances, and Other Interests, (B) Authorizing the Assumption and Assignment of

Certain Executory Contracts and Unexpired Leases, and (C) Granting Related Relief [Docket

No. 127] (the “Sale Motion”).2


1
    The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt,
    LLC (d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC
    Holdings, LLC (d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a
    HopCat East Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago, LLC
    (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR
    Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a
    HopCat-Broad Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC
    (d/b/a HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-
    Lincoln, LLC (2999), HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108),
    HopCat-Minneapolis, LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak,
    LLC (1935), HopCat-St. Louis, LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron
    Public House, LLC and McFadden’s Restaurant Saloon)(4255).
2
    A capitalized term used but not defined herein has the meaning set forth in the Sale Motion.
             Case:20-01947-jwb     Doc #:358 Filed: 10/12/2020         Page 2 of 108




        2.      Only July 22, 2020, the United States Bankruptcy Court for the Western District

of Michigan (the “Bankruptcy Court”) entered its Order (A) Approving Bidding Procedures and

Scheduling Sale Hearing, (B) Approving the Form of the Asset Purchase Agreement, Including

the Bid Protections, and (C) Granting Relied Relief (the “Bidding Procedures Order”).

        3.      Pursuant to the Bidding Procedures Order and the Bidding Procedures, the

deadline to submit offers to purchase the Assets was August 21, 2020 at 4:00 p.m. (Eastern

Time). The Stalking Horse Bidder was the only party to submit a Qualified Bid. No other bids

were received.    Accordingly, on September 16, 2020, the Debtors filed their Notice of (I)

Cancellation of Auction, (II) Selection of Successful Bidder, and (III) Rescheduled Sale Hearing

[Docket No. 314].

        4.      On September 24, 2020, Debtors filed their Notice of Filing of (I) Proposed Sale

Order, (II) Wind-Down Budget, and (II) Amended Stalking Horse Agreement [Docket No. 334]

(the “Initial Notice”).

        5.      The Court held a hearing on the Sale Motion on September 25, 2020. Following

the hearing on the Sale Motion, the Debtors, the Stalking Horse Bidder, and the Official

Committee of Unsecured Creditors (the “Settling Parties”) engaged in mediation. On October 2,

2020, the Court held a telephonic hearing whereby the Settling Parties placed their settlement on

the record. The Settling Parties thereafter worked together to amend the proposed sale order.

The Court adjourned the Sale Hearing until October 13, 2020.

        6.      Attached hereto as Exhibit A is the revised proposed order (the “Proposed Sale

Order”) to approve the sale of substantially all of the Debtors’ assets to Project BarFly LLC, the

Stalking Horse Bidder. Annexed to the Proposed Sale Order as Exhibit A are the final proposed
              Case:20-01947-jwb      Doc #:358 Filed: 10/12/2020       Page 3 of 108




Cure Amounts for the Assumed Contracts. Annexed as Exhibit C to the Proposed Sale Order are

the Purchased Actions.

         7.      Attached hereto as Exhibit B is a comparison of the Proposed Sale Order to the

original proposed sale order that was filed in the Initial Notice.

         8.      Attached hereto as Exhibit C is a spreadsheet comparing the cure amounts

provided for in the cure spreadsheet attached to the Notice of Assumption and Assignment of

Executory Contracts and Unexpired Leases and the cure amounts since agreed to by the

Counterparties and incorporated as Exhibit A to the Proposed Sale Order.

         9.      The Debtors will present the Proposed Sale Order at the sale hearing scheduled in

these chapter 11 cases for October 13, 2020 at 9:00 a.m. (Eastern Time) (the “Sale Hearing”)

before the Honorable James W. Boyd, United States Bankruptcy Judge for the United States

Bankruptcy Court for the Western District of Michigan. The Sale Hearing will be conducted by

videoconferencing using the Zoom Cloud Meeting Program/App.

Dated: October 12, 2020                        WARNER NORCROSS + JUDD LLP

                                               /s/ Elisabeth M. Von Eitzen
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Case:20-01947-jwb   Doc #:358 Filed: 10/12/2020   Page 4 of 108




              EXHIBIT A
                Proposed Sale Order
            Case:20-01947-jwb           Doc #:358 Filed: 10/12/2020              Page 5 of 108




                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF MICHIGAN

                                                                  x
                                                                  :
In re                                                             :       Chapter 11
                                                                  :
BARFLY VENTURES, LLC, et al.,1                                    :       Case No. 20-01947-jwb
                                                                  :
                                      Debtors.                    :       Jointly Administered
                                                                  x
                 ORDER (I) AUTHORIZING THE SALE
             OF SUBSTANTIALLY ALL OF THE DEBTORS’
           ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
      ENCUMBRANCES, AND OTHER INTERESTS, (II) AUTHORIZING
     THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY
CONTRACTS AND UNEXPIRED LEASES, AND (III) GRANTING RELATED RELIEF

                    Upon the motion [Docket No. 127] (the “Motion”) of BarFly Ventures, LLC and

its affiliated debtors and debtors-in-possession (collectively, the “Debtors”), for entry of an order

(this “Order”) pursuant to sections 105(a), 363, and 365 of Title 11 of the United States Code

(the “Bankruptcy Code”) and rules 2002, 6004, and 6006 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) (i) approving the sale of the Debtors’ assets free and clear of

liens, claims, interests and encumbrances, (ii) authorizing assumption and assignment of certain

executory contracts and unexpired leases; and (iii) granting related relief; and the Court having

entered a prior order, dated July 22, 2020 [Docket No. 184] (the “Bid Procedures Order”),

approving bidding procedures for the Debtors’ assets (the “Bid Procedures”) and granting certain


1
    The Debtors and the last four digits of their federal employment identification number are: Barfly Ventures,
    LLC (8379); 9 Volt, LLC (d/b/a HopCat) (1129); 50 Amp Fuse, LLC (d/b/a Stella’s Lounge) (3684); GRBC
    Holdings, LLC (d/b/a Grand Rapids Brewing Company) (2130); E L Brewpub, LLC (d/b/a HopCat East
    Lansing) (5334); HopCat-Ann Arbor, LLC (5229); HopCat-Chicago, LLC (7552); HopCat-Concessions, LLC
    (2597); HopCat-Detroit, LLC (8519); HopCat-GR Beltline, LLC (9149); HopCat-Holland, LLC (7132);
    HopCat-Indianapolis, LLC (d/b/a HopCat-Broad Ripple) (7970); HopCat-Kalamazoo, LLC (8992);
    HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and Tikicat) (6242); HopCat-Lexington, LLC (6748);
    HopCat-Lincoln, LLC (2999); HopCat-Louisville, LLC (0252); HopCat-Madison, LLC (9108);
    HopCat-Minneapolis, LLC (8622); HopCat-Port St. Lucie, LLC (0616); HopCat-Royal Oak, LLC (1935);
    HopCat-St. Louis, LLC (6994); Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and
    McFadden’s Restaurant Saloon) (4255).


DOCS_SF:104202.11
            Case:20-01947-jwb           Doc #:358 Filed: 10/12/2020              Page 6 of 108




related relief; and Project BarFly LLC (together with its permitted successors, designees, and

assigns, “Buyer”) having submitted a bid, which bid was the Successful Bid for substantially all

of the Debtors’ assets; and the Court having jurisdiction to consider the Motion pursuant to 28

U.S.C. §§ 157 and 1334; and venue of these chapter 11 cases and the Motion in this district

being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core proceeding

pursuant to 28 U.S.C. § 157(b); and the Court having found that proper and adequate notice of

the Motion and the relief requested therein has been provided in accordance with the Bankruptcy

Rules, and that, except as otherwise ordered herein, no other or further notice is necessary; and

any objections (if any) to the Motion having been withdrawn or overruled on the merits; and a

hearing on the Motion (the “Sale Hearing”) having been held to consider the relief requested in

the Motion and to review and consider (i) the Motion and the exhibits thereto, (ii) the Asset

Purchase Agreement, dated as of July 9, 2020, by and among the Debtors and Buyer, a copy of

which is attached hereto as Exhibit B (together with any schedules and exhibits thereto, and as

amended, restated, supplemented, or otherwise modified from time to time, the “Purchase

Agreement”)2 whereby the Debtors have agreed, among other things, to sell the Purchased

Assets (as defined in the Asset Purchase Agreement as modified herein) to Buyer on the terms

and conditions set forth in the Purchase Agreement (collectively, the “Sale Transaction”), (iii)

the Response of CIP Administrative, LLC, In Its Capacity as Administrative Agent for the

Prepetition Lenders, to Objections to Sale Motion [Docket No. 333], and (iv) the declarations of

Robert S. Hersch and Ned Lidvall in support of the Motion, and upon the record of the Sale

Hearing and all of the proceedings had before the Court; and the Court having found and

determined that the relief sought in the Motion is in the best interests of the Debtors, their


2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Purchase
    Agreement or, if not defined in the Purchase Agreement, the meanings ascribed to them in the Motion.

                                                     -2-
DOCS_SF:104202.11
            Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020        Page 7 of 108




estates, their creditors and all other parties-in-interest; and that the legal and factual bases set

forth in the Motion establish just cause for the relief granted herein; and upon the full record of

the Sale Hearing and other pleadings and proceedings in these chapter 11 cases, including the

Motion; and after due deliberation and sufficient cause appearing therefor,

        THE COURT HEREBY FINDS, DETERMINES, AND CONCLUDES THAT:

                    A.   Fed. R. Bankr. P. 7052. The findings and conclusions set forth herein

constitute the Court’s findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052,

made applicable to this proceeding pursuant to rule 9014 of the Bankruptcy Rules, and shall take

immediate effect upon execution hereof. To the extent that any of the following findings of fact

constitute conclusions of law, they are adopted as such. To the extent any of the following

conclusions of law constitute findings of fact, they are adopted as such. The Court’s findings

shall also include any oral findings of fact and conclusions of law made by this Court during or

at the conclusion of the Sale Hearing.

                    B.   Jurisdiction and Venue. The Court has jurisdiction to consider and decide

the Motion pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a core proceeding pursuant

to 28 U.S.C. § 157(b). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                    C.   Final Order. This Order constitutes a final and appealable order as set

forth in 28 U.S.C. § 158(a). The Debtors have demonstrated compelling circumstances and a

good, sufficient, and sound business purpose and justification for the immediate approval and

consummation of the Sale Transaction as contemplated by the Purchase Agreement. In the

absence of a stay pending appeal, Buyer, being a good faith purchaser under section 363(m) of

the Bankruptcy Code and entitled to its protections, may close the sale contemplated by the

Purchase Agreement at any time after the entry of this Order and shall not be subject to the stay

provided by rules 6004(h) or 6006(d) of the Bankruptcy Rules.

                                                -3-
DOCS_SF:104202.11
            Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020          Page 8 of 108




                    D.   Statutory and Rule Predicates. The statutory and other legal predicates for

the relief sought in the Motion are sections 105(a), 363, and 365 of the Bankruptcy Code and

rules 2002, 6004, and 6006 of the Bankruptcy Rules.

                    E.   Opportunity to Object. A fair and reasonable opportunity to object or be

heard regarding the relief granted by this Order, including but not limited to, the assumption and

assignment of the Assumed Contracts and the Cure Costs (each as defined below), has been

afforded to all interested persons and entities, including, but not limited to, the Notice Parties (as

defined in the Motion).

                    F.   Sound Business Purpose. The Debtors have demonstrated that their entry

into the Purchase Agreement and related or ancillary agreements thereto or contemplated thereby

(collectively, the “Ancillary Agreements”) is supported by good, sufficient, and sound business

reasons.    A sale of the Purchased Assets and assumption of the Assumed Liabilities will

maximize the value of the Debtors’ estates, is fair and equitable, and represents a reasonable

exercise of the Debtors’ sound business judgment. The Debtors determined that the Purchase

Agreement constitutes the highest or otherwise best offer for the Purchased Assets and pursuant

to the terms and conditions of the Purchase Agreement, the Debtors have agreed to transfer to

Buyer all of the Debtors’ right, title, and interest in and to, and Buyer has agreed to assume

certain specified Assumed Liabilities that are not Excluded Liabilities related to, the Purchased

Assets free and clear of all Liens (as defined below) and, if and to the extent requested by Buyer,

to assume and assign the Assumed Contracts (collectively, the “Assumed Contracts”) to Buyer

subject to the terms and conditions of the Purchase Agreement and this Order, and such

determination is a valid and sound exercise of the Debtors’ business judgment.




                                                 -4-
DOCS_SF:104202.11
            Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020       Page 9 of 108




                    G.   Compliance with Bid Procedures. The Bid Procedures (as approved by

the Bid Procedures Order) were substantively and procedurally fair to all parties, were the result

of arm’s length negotiations, and provided a full, fair, and reasonable opportunity for any party

to make an offer to purchase the Purchased Assets. The Debtors, Buyer, and their respective

counsel and other advisors have complied with the Bid Procedures Order and the Bid Procedures

in all respects except as properly waived by the Debtors in the exercise of their fiduciary duties

in accordance with the Bid Procedures. Buyer submitted a Qualified Bid pursuant to the Bid

Procedures approved by the Court and was the Successful Bidder for the Purchased Assets in

accordance with the Bid Procedures Order and the Bid Procedures.

                    H.   Marketing Process. The Debtors and their advisors thoroughly and fairly

marketed the Purchased Assets and conducted the related sale process in good faith and in a fair

and open manner, soliciting offers to acquire the Purchased Assets from a wide variety of parties.

The sale process and the Bid Procedures were non-collusive, duly noticed, and provided a full,

fair, reasonable, and adequate opportunity for any person or entity that expressed an interest in

acquiring the Purchased Assets, or who the Debtors believed may have an interest in acquiring,

and be permitted and able to acquire, the Purchased Assets, to conduct due diligence, make an

offer to purchase the Debtors’ assets, including, without limitation, the Purchased Assets, and

submit higher and otherwise better offers for the Purchased Assets than Buyer’s Successful Bid.

The Debtors and Buyer have negotiated and undertaken their roles leading to the Sale

Transaction and entry into the Purchase Agreement in a diligent, non-collusive, fair, reasonable,

and good faith manner.        The sale process conducted by the Debtors pursuant to the Bid

Procedures Order and the Bid Procedures resulted in the highest or otherwise best offer for the

Purchased Assets for the Debtors and their estates, was in the best interests of the Debtors, their



                                               -5-
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020        Page 10 of 108




creditors, and all parties in interest, and any other transaction would not have yielded as

favorable a result.      There is no legal or equitable reason to delay consummation of the

transactions contemplated by the Purchase Agreement, including, without limitation, the Sale

Transaction.

                    I.   No Other Qualified Bids/Cancellation of Auction. The Debtors did not

receive any other Qualified Bids pursuant to the Bid Procedures and, consequently, in

accordance with Article III.F of the Bid Procedures, no Auction was held and the Buyer was

named the Successful Bidder upon the expiration of the Bid Deadline.

                    J.   Good Faith. Buyer is not an “insider” or “affiliate” of any of the Debtors

as those terms are defined in section 101 of the Bankruptcy Code. The Purchase Agreement and

the Ancillary Agreements, and each of the transactions contemplated therein, were negotiated,

proposed, and entered into by the Debtors and Buyer without collusion or fraud, in good faith,

and from arm’s-length bargaining positions and are substantively and procedurally fair to all

parties. Neither the Debtors nor Buyer has engaged in any conduct that would cause or permit

any part of the Purchase Agreement or the Ancillary Agreements to be avoidable under

section 363(n) of the Bankruptcy Code.          Buyer is purchasing the Purchased Assets, in

accordance with the Purchase Agreement, in good faith and is a good-faith purchaser under

section 363(m) of the Bankruptcy Code and, as such, is entitled to all of the protections afforded

thereby. In particular, (i) Buyer recognized that the Debtors were free to deal with any other

party interested in purchasing the Purchased Assets; (ii) Buyer in no way induced or caused the

chapter 11 filing by the Debtors; (iii) Buyer has not violated section 363(n) of the Bankruptcy

Code by any action or inaction; (iv) no common identity of directors, managers, officers, or

controlling stockholders exists between Buyer, on the one hand, and any of the Debtors, on the



                                                -6-
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020          Page 11 of 108




other hand; (v) Buyer complied with the Bid Procedures and all provisions of the Bid Procedures

Order; and (vi) all payments to be made, and all other material agreements or arrangements

entered into or to be entered into by Buyer in connection with the Sale Transaction, including the

Ancillary Agreements, have been disclosed. The Purchase Agreement was not entered into for

the purpose of hindering, delaying, or defrauding creditors under the Bankruptcy Code or under

laws of the United States, any state, territory, or possession, or the District of Columbia.

                    K.   Fair Consideration/Reasonably Equivalent Value.             The aggregate

consideration from Buyer for the Purchased Assets as set forth in the Purchase Agreement: (i) as

such consideration relates to the Purchased Assets, constitutes fair consideration and fair value

under the Bankruptcy Code, the Uniform Fraudulent Transfer Act, the Uniform Fraudulent

Conveyance Act, and other similar laws of the United States, any state, territory, possession, or

the District of Columbia, and any foreign jurisdiction; (ii) is the highest or otherwise best value

obtainable for the Purchased Assets; (iii) will provide a greater recovery to creditors than would

be provided by any other available alternative; and (iv) as such consideration relates to the

Purchased Assets, constitutes reasonably equivalent value (as that term is defined in each of the

Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act, Uniform Voidable

Transaction Act, and section 548 of the Bankruptcy Code). Neither the Debtors nor Buyer

entered into or has agreed to enter into the Purchase Agreement or the Ancillary Agreements

with any fraudulent or otherwise improper purpose, including, without limitation, the purpose of

hindering, delaying, or defrauding any creditors of the Debtors.

                    L.   No Successor or Other Derivative Liability. Except as otherwise set forth

herein or in the Purchase Agreement, upon Closing, and to the greatest extent permitted by

applicable law, Buyer shall not have any liability (including, but not limited to, any successor



                                                -7-
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020          Page 12 of 108




liability) or other obligation of any of the Debtors arising under or related to the sale and transfer

of the Purchased Assets to Buyer or with respect to the Excluded Liabilities, provided that, upon

Closing, Buyer shall remain liable for the Assumed Liabilities. Without limiting the generality

of the foregoing, and except as otherwise expressly provided herein or in the Purchase

Agreement, Buyer shall not be liable for any claims against the Debtors or any of their

predecessors, affiliates employees, agents, or advisors, and Buyer shall have no successor or

vicarious liabilities of any kind or character, including, without limitation, under any theory of

antitrust, environmental, successor, or transfer liability, labor law, de facto merger, mere

continuation, or substantial continuity, whether known or unknown as of Closing, now existing,

or hereafter arising, whether fixed or contingent, whether asserted or unasserted, whether legal or

equitable, whether liquidated or unliquidated, including, without limitation, liabilities on account

of warranties, intercompany loans, receivables among the Debtors and their affiliates,

environmental liabilities, and any taxes arising, accruing, or payable under, out of, in connection

with, or in any way relating to the operation of any of the Purchased Assets prior to the Closing.

For the avoidance of doubt, the Debtors are deemed to release and forever discharge Buyer and

any of its affiliates, successors, and assigns from any and all claims, causes of action,

obligations, liabilities, demands, losses, costs, and expenses of any kind, character, or nature

whatsoever, known or unknown, fixed or contingent, relating to the Sale Transaction or

operation of the Purchased Assets prior to Closing, except for the Assumed Liabilities. Buyer is

not, and the consummation of the Sale Transaction will not render Buyer, a mere continuation,

and Buyer is not holding itself out as a mere continuation, of any of the Debtors or their

respective estates, enterprise, or operations, and there is no continuity or common identity

between Buyer and the Debtors. Accordingly, the Sale Transaction does not amount to a



                                                -8-
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020         Page 13 of 108




consolidation, merger, or de facto merger of Buyer with or into any of the Debtors or their

estates and Buyer is not, and shall not be deemed to be, a successor to any of the Debtors or their

estates as a result of the consummation of the Sale Transaction. Buyer would not have entered

into the Purchase Agreement if the transfer of the Purchased Assets were not made free and clear

of any successor liability to Buyer.

                    M.   Sale Notice. As shown by the certificates of service filed with the Court

and the representations or proffers made on the record at the Sale Hearing, (i) the Debtors have

provided proper, timely, adequate, and sufficient notice of and sufficient opportunity to object to

the Motion and the relief requested therein (including the Debtors’ requested findings with

respect to successor liability), the bidding process (including, without limitation, the deadline for

submitting Qualified Bids), the Sale Hearing, the Sale Transaction, and the proposed entry of this

Order in compliance with all applicable requirements of the Bankruptcy Code and the

Bankruptcy Rules, (ii) such notice was adequate and sufficient under the circumstances of these

chapter 11 cases and complied with the Bid Procedures Order and other orders of the Court, and

(iii) no other or further notice is required.

                    N.   Title to Assets. The Purchased Assets constitute property of the Debtors’

estates and title or rights thereto is currently vested in the Debtors’ estates within the meaning of

section 541(a) of the Bankruptcy Code.

                    O.   Satisfaction of Section 363(f) Standards. The conditions of section 363(f)

of the Bankruptcy Code, including 363(f)(2), have been satisfied in full. Upon entry of this

Order, the Debtors are authorized to transfer all of their right, title, and interest in and to the

Purchased Assets free and clear of any and all claims (as such term is defined by section 101(5)

of the Bankruptcy Code), liabilities (including any liability that results from, relates to, or arises



                                                -9-
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020          Page 14 of 108




out of tort or any other product liability claim), interests, and matters of any kind and nature

whatsoever, including, without limitation, hypothecations, mortgages, security deeds, deeds of

trust, debts, levies, indentures, restrictions (whether on voting, sale, transfer, disposition, or

otherwise), leases, licenses, easements, rights of way, encroachments, instruments, preferences,

priorities, security agreements, conditional sales agreements, title retention contracts and other

title retention agreements and other similar impositions, options, judgments, offsets, rights of

recovery, rights of preemption, rights of setoff, profit sharing interest, other third party rights,

other impositions, or restrictions on transfer or use of any nature whatsoever, claims for

reimbursement, claims for contribution, claims for indemnity, claims for exoneration, products

liability claims, alter-ego claims, successor-in-interest claims, successor liability claims,

substantial continuation claims, withdrawal liability claims, environmental claims, claims under

or relating to any employee benefit plan, ERISA affiliate plan, or ERISA (including any pension

or retirement plan) or any claims under state or other laws of similar effect, tax claims (including

claims for any and all foreign, federal, state, and local taxes, including, but not limited to, sales,

income, use, or any other type of tax), escheatment claims, reclamation claims, obligations,

liabilities, demands, and guaranties, and other encumbrances relating to, accruing, or arising any

time prior to the Closing Date, duties, responsibilities, obligations, demands, commitments,

assessments, costs, expense, losses, expenditures, charges, fees, penalties, fines, contributions,

premiums, encumbrances, guaranties, pledges, consensual or nonconsensual liens (including any

liens as that term is defined in section 101(37) of the Bankruptcy Code), statutory liens, real or

personal property liens, mechanics’ liens, materialman’s liens, warehouseman’s liens, tax liens,

security interests, charges, options (including in favor of third parties), rights, contractual

commitments, restrictions, restrictive covenants, covenants not to compete, rights to refunds,



                                                - 10 -
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020           Page 15 of 108




escheat obligations, rights of first refusal, rights and restrictions of any kind or nature whatsoever

against the Debtors or the Purchased Assets, including, without limitation, any debts arising

under or out of, in connection with, or in any way relating to, any acts or omissions, obligations,

demands, guaranties, rights, contractual commitments, restrictions, product liability claims,

environmental liabilities, employee pension or benefit plan claims, multiemployer benefit plan

claims, retiree healthcare or life insurance claims, or claims for taxes of or against the Debtors,

and any derivative, vicarious, transferee, or successor liability claims, rights or causes of action

(whether in law or in equity, under any law, statute, rule, or regulation of the United States, any

state, territory, or possession, or the District of Columbia), whether arising prior to or subsequent

to the commencement of these chapter 11 cases, whether known or unknown, choate or inchoate,

filed or unfiled, scheduled or unscheduled, noticed or unnoticed, recorded or unrecorded, secured

or unsecured, perfected or unperfected, allowed or disallowed, contingent or non-contingent,

liquidated or unliquidated, matured or unmatured, material or non-material, disputed or

undisputed, and whether imposed by agreement, understanding, law, equity, or otherwise,

including claims otherwise arising under doctrines of successor liability, successor-in-interest

liability, continuation liability, or substantial continuation liability, including, without limitation,

that the Buyer is in any way a successor, successor-in-interest, continuation, or substantial

continuation of the Debtors or their business, arising under or out of, in connection with, or in

any way related to the Debtors, the Debtors’ interests in the Purchased Assets, the operation of

the Debtors’ respective businesses at or before the effective time of the Closing pursuant to the

Purchase Agreement, or the transfer of the Debtors’ interests in the Purchased Assets to Buyer,

and all Excluded Liabilities (collectively, excluding any Assumed Liabilities and Permitted

Liens, “Liens”), as provided for in the Purchase Agreement because in each case one or more of



                                                 - 11 -
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020          Page 16 of 108




the standards set forth in section 363(f)(1)–(5) of the Bankruptcy Code has been satisfied.

Except as otherwise expressly provided in the Purchase Agreement or this Order, such Liens

shall attach to the proceeds allocated to the Debtors in the order of their priority, with the same

validity, force and effect which they have against the Purchased Assets immediately prior to the

Closing, subject to any claims and defenses the Debtors may possess with respect to such Liens.

Those holders of Liens against the Purchased Assets who did not object or who withdrew their

objections to the Purchase Agreement or the Motion are deemed to be bound by the terms of this

Order as the transactions contemplated by the Purchase Agreement pursuant to section 363(f)(2).

In addition, one or more of the other subsections of sections 363(f) of the Bankruptcy Code

apply and, therefore, holders of Liens with an interest in the Purchased Assets owned by the

Debtors are found to be adequately protected by having their Liens that constitute interests in

such Purchased Assets attach solely to the proceeds of the Sale Transaction in the same order of

priority and with the same extent, validity, force, and effect that such holders had prior to the

Sale Transaction and by providing for the distributions provided for herein. All persons having

Liens of any kind or nature whatsoever against the Debtors or the Purchased Assets owned by

the Debtors shall be forever barred from pursuing or asserting such Liens against Buyer or any of

their respective assets, property, affiliates, successors, assigns, or the Purchased Assets.

                    P.   Buyer would not have entered into the Purchase Agreement and would not

consummate the transactions contemplated thereby, thus adversely affecting the Debtors and

their estates and creditors, if (i) the transfer of the Purchased Assets was not free and clear of all

Liens and other interests, including, without limitation, any rights or Liens based on any

successor or transferee liability, as set forth in the Purchase Agreement and this Order, or (ii) the

Buyer would, or in the future could, be liable for any such Liens, including, without limitation,



                                                - 12 -
DOCS_SF:104202.11
           Case:20-01947-jwb       Doc #:358 Filed: 10/12/2020         Page 17 of 108




any rights or Liens based on any successor or transferee liability. Buyer will not consummate

the Sale Transaction unless this Court expressly orders that none of Buyer, its affiliates, their

present or contemplated members or shareholders, or the Purchased Assets will have any liability

whatsoever with respect to, or be required to satisfy in any manner, whether at law or equity, or

by payment, setoff, or otherwise, directly or indirectly, any Liens and other interests, including

rights or claims based on any successor or transferee liability, other than expressly provided

herein or in the Purchase Agreement. The total consideration to be provided under the Purchase

Agreement reflects Buyer’s reliance on this Order to provide, pursuant to sections 105(a)

and 363(f) and (m) of the Bankruptcy Code, that, upon the Closing, Buyer has title to, interest in,

and possession of the Purchased Assets free and clear of all Liens. A sale of the Purchased

Assets, other than one free and clear of all Liens, would yield substantially less value for the

Debtors’ estates.

                    Q.   Assumption and Assignment of the Assumed Contracts. The assumption

and assignment of the Assumed Contracts are integral to the Purchase Agreement, are in the best

interests of the Debtors and their estates, and represent the reasonable exercise of the Debtors’

sound business judgment.        Specifically, the assumption and assignment of the Assumed

Contracts (i) are necessary to sell the Purchased Assets to Buyer, (ii) allow the Debtors to sell

their business to Buyer as a going concern, (iii) allow the Debtors to maximize the value of the

Purchased Assets, including the Assumed Contracts, (iv) limit the losses suffered by the

counterparties to the Assumed Contracts, and (v) maximize the recoveries to other creditors of

the Debtors by limiting the amount of claims against the Debtors’ estates by avoiding the

rejection of the Assumed Contracts.




                                              - 13 -
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020      Page 18 of 108




                    R.   With respect to each of the Assumed Contracts, the Debtors and Buyer

have met all requirements of section 365(b) of the Bankruptcy Code. Further, in compliance

with the requirements of sections 365(b) and 365(f) of the Bankruptcy Code, Buyer has provided

adequate assurance of future performance under the Assumed Contracts to the extent that any

such assurance is required and not waived by the counterparties to such Assumed Contracts.

Accordingly, the Assumed Contracts may be assumed by the Debtors and assigned to Buyer as

provided for in the Purchase Agreement and this Order.

                    S.   The authority hereunder for the Debtors to assume and assign any

Assumed Contract to Buyer includes the authority to assume and assign an Assumed Contract, as

amended (including amendments entered into by the Debtors in accordance with paragraph 25 of

this Order).

                    T.   The assignments by the applicable Debtors of each of the Assumed

Contracts are made in good faith under sections 363(b) and (m) of the Bankruptcy Code.

                    U.   Cure Notice; Adequate Assurance of Future Performance. As shown by

the certificates of service filed with the Court, the Debtors have served upon each non-Debtor

counterparty to certain executory contracts and unexpired leases (each, a “Counterparty”), prior

to the Sale Hearing, a notice, dated July 24, 2020 [Docket No. 198] (the “Notice of Potential

Assignment”), (i) that Debtors may wish to assume and assign the contracts or leases identified

on the Notice of Potential Assignment (the “Contracts and Leases”) to the Buyer pursuant to

section 365 of the Bankruptcy Code and (ii) of the related proposed cure costs due under

section 365(b) of the Bankruptcy Code (the “Cure Costs”) with respect to the Contracts and

Leases. In accordance with the Bidding Procedures Order, if the Debtors or Buyer identify

additional executory contracts or unexpired leases that might be assumed by the Debtors and



                                              - 14 -
DOCS_SF:104202.11
           Case:20-01947-jwb       Doc #:358 Filed: 10/12/2020        Page 19 of 108




assigned to the Buyer or that were not set forth in the original Notice of Assumption and

Assignment, the Debtors will promptly file with the Court and send a Supplemental Notice of

Assumption and Assignment to the applicable Counterparties to such additional executory

contracts and unexpired leases. The service of the Notice of Potential Assignment was good,

sufficient, and appropriate under the circumstances of these chapter 11 cases and complied with

the Bid Procedures Order and other orders of the Court, and no other or further notice is required

with respect to the Cure Costs for the assumption and assignment of the Contracts and Leases,

including without limitation Buyer’s provision of adequate assurance of future performance. All

Counterparties to the Contracts and Leases have had a reasonable opportunity to object to the

Cure Costs listed on the Notice of Potential Assignment in accordance with the Bid Procedures

Order and to the assumption and assignment of such Assumed Contract to Buyer in accordance

with the Bid Procedures Order. Accordingly, all Counterparties to Contracts and Leases who did

not object or who withdrew their objections to the Cure Costs listed on the Notice of Potential

Assignment prior to the Sale Hearing are deemed to have consented to such Cure Costs, and all

Counterparties to Assumed Contracts who did not file an objection to the assumption by the

Debtors of such Assumed Contracts and the assignment thereof to Buyer prior to the Sale

Hearing are deemed to have consented to the assumption of such Assumed Contract and the

assignment thereof to Buyer.

                    V.   All Counterparties to the Assumed Contracts have had a reasonable

opportunity to object to Buyer’s ability to provide adequate assurance of future performance as

contemplated under sections 365(b)(l)(C) and 365(f)(1) of the Bankruptcy Code, in accordance

with the Bid Procedures Order. Accordingly, all Counterparties to Assumed Contracts who did

not object or who withdrew their objections to Buyer’s ability to provide adequate assurance of



                                              - 15 -
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020        Page 20 of 108




future performance under the Assumed Contracts are bound by the terms of this Order as to the

assumption of such Assumed Contract and the assignment thereof to Buyer. The filed objections

at [Docket Nos. 216, 217, 220, 223, 225, 227, 228, 259, 268, 288, 290, and 300] relating to the

Assumed Contracts were adjourned or resolved as set forth on the record at the Sale Hearing.

                    W.   Liquor Licenses. Alcohol sales are currently conducted in connection

with the Purchased Assets pursuant to the Liquor Licenses. The sale of alcohol is an important

component of the Debtors’ business and the continued sale of alcohol in connection with the

Purchased Assets is essential to the Buyer’s consummation of the Sale Transaction. It is in the

best interests of the estates and all other parties in interest for such alcohol sales to continue

uninterrupted during the transition of ownership from the Debtors to the Buyer after the Closing.

                    X.   Record Retention. Pursuant to the terms of and subject to the limitations

and conditions in the Purchase Agreement, following the Closing the Debtors, their successors

and assigns, and any trustee in bankruptcy will have reasonable access to the Debtors’ books and

records for any reasonable business purpose or compliance with any obligation, including

administration of these chapter 11 cases. To the extent that the Debtors maintain books and

records electronically, an electronic copy of such books and records shall remain with the

Debtors after the Closing.

                    Y.   Corporate Power and Authority.       The Debtors and their applicable

affiliates have (i) full corporate or similar power and authority to execute and deliver the

Purchase Agreement, the Ancillary Agreements, and all other documents contemplated thereby,

(ii) all corporate or similar authority necessary to consummate the transactions contemplated by

the Purchase Agreement and the Ancillary Agreements, and (iii) taken all corporate actions

necessary to authorize and approve the Purchase Agreement, the Ancillary Agreements, and the



                                               - 16 -
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020         Page 21 of 108




consummation of the transactions contemplated thereby. No consents or approvals, other than

those expressly provided for in the Purchase Agreement, are required for the Debtors to execute

the Purchase Agreement or consummate the transactions contemplated thereby.

                    Z.    Valid and Binding Contract; Validity of Transfer.       The Purchase

Agreement is a valid and binding contract between the Debtors and Buyer and shall be

enforceable pursuant to its terms. The Purchase Agreement, the Ancillary Agreements, and the

Sale Transaction itself, and the consummation thereof shall be specifically enforceable against

and binding upon (without posting any bond) the Debtors and any chapter 11 trustee appointed in

these chapter 11 cases, or in the event these chapter 11 cases are converted to a case under

chapter 7 of the Bankruptcy Code, a chapter 7 trustee, and shall not be subject to rejection or

avoidance by the foregoing parties or any other Person.         The consummation of the Sale

Transaction is legal, valid, and properly authorized under all applicable provisions of the

Bankruptcy Code, including, without limitation, sections 105(a), 363(b), 363(f), 363(m), 365(b),

and 365(f) of the Bankruptcy Code and all of the applicable requirements of such sections have

been complied with in respect of the Sale Transaction.

                    AA.   No Sub Rosa Plan. The Sale Transaction, the Purchase Agreement, and

the other transactions contemplated thereby do not constitute a sub rosa chapter 11 plan. The

Sale Transaction neither impermissibly restructures the rights of the Debtors’ creditors nor

impermissibly dictates a liquidating chapter 11 plan for the Debtors.

                    BB.   Waiver of Bankruptcy Rules 6004(h) and 6006(d).     The Debtors have

demonstrated (i) good, sufficient, and sound business purposes and justifications for approving

the Purchase Agreement and the Sale Transaction and (ii) compelling circumstances for the

immediate approval and consummation of the transactions contemplated by the Purchase



                                              - 17 -
DOCS_SF:104202.11
            Case:20-01947-jwb           Doc #:358 Filed: 10/12/2020      Page 22 of 108




Agreement and all other Ancillary Agreements for the Sale Transaction outside of (a) the

ordinary course of business, pursuant to section 363(b) of the Bankruptcy Code, and (b) a

chapter 11 plan, in that, among other things, the immediate consummation of the Sale

Transaction to the Buyer and all transactions contemplated thereby are necessary and appropriate

to maximize the value of the Debtors’ estates. Accordingly, there is cause to waive the stay

contemplated by Bankruptcy Rules 6004 and 6006 with respect to the transactions contemplated

by this Order. To maximize the value of the Purchased Assets and preserve the viability of the

Business, it is essential that the Sale Transaction occur within the time constraints set forth in the

Purchase Agreement. Time is of the essence in consummating the Sale Transaction. Given all

of the circumstances of the chapter 11 cases and the adequacy and fair value of the Purchase

Price under the Purchase Agreement, the proposed Sale Transaction constitutes a reasonable and

sound exercise of the Debtors’ business judgment that should be, and hereby is, approved.

                    CC.   Personally Identifiable Information.   The appointment of a consumer

privacy ombudsman pursuant to section 363(b)(1) or section 332 of the Bankruptcy Code is not

required with respect to the relief requested in the Motion.

                    DD.   Legal and Factual Bases. The legal and factual bases set forth in the

Motion establish just cause for the relief granted herein. Entry of this Order is in the best

interests of the Debtors and their estates, creditors, interest holders and all other parties in

interest.

        IT IS HEREBY ORDERED THAT:

                    1.    To the extent not already approved pursuant to the Bid Procedures Order,

the Motion is GRANTED as set forth herein.

                    2.    Objections.    All objections, reservations of rights regarding, or other

responses to the Motion or the relief requested therein, the Purchase Agreement, all other

                                                 - 18 -
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020        Page 23 of 108




Ancillary Agreements, the Sale Transaction, the entry of this Order, or the relief granted herein,

including, without limitation, any objections to Cure Costs or relating to the cure of any defaults

under any of the Assumed Contracts or the assumption and assignment of any of the Assumed

Contracts to the Buyer by the Debtors, including with respect to Buyer’s ability to provide

adequate assurance of future performance under the Assumed Contracts, solely as it relates to the

relief granted by this Order that have not been adjourned, withdrawn, or resolved are overruled

in all respects on the merits with prejudice, except as otherwise set forth herein. All persons and

entities that failed to object timely to the Motion are deemed to have consented to the relief

granted herein for all purposes.

                    3.   Notice. Notice of the Motion, the Sale Hearing, the Purchase Agreement,

the assumption and assignment of the Assumed Contracts, and the relief granted in this Order

was fair, sufficient, proper, and equitable under the circumstances, and complied in all respects

with sections 102(1), 363, and 365 of the Bankruptcy Code, rules 2002, 6004, and 6006 of the

Bankruptcy Rules, the Bid Procedures Order, and other orders of the Court.

                    4.   Fair Purchase Price. The consideration to be provided by Buyer under the

Purchase Agreement is fair and reasonable and constitutes (a) reasonably equivalent value under

the Bankruptcy Code, the Uniform Voidable Transactions Act, and the Uniform Fraudulent

Transfer Act, (b) fair consideration under the Uniform Fraudulent Conveyance Act,

(c) reasonably equivalent value, fair consideration, and fair value under any other applicable

laws of the United States, any state, territory or possession, or the District of Columbia, and

(d) valid and valuable consideration for the release of any potential Liens pursuant to this Order,

which release shall be deemed to have been given in favor of Buyer by all holders of Liens of




                                               - 19 -
DOCS_SF:104202.11
           Case:20-01947-jwb       Doc #:358 Filed: 10/12/2020        Page 24 of 108




any kind whatsoever against all of the Debtors and all of the Purchased Assets, other than as

otherwise expressly set forth in this Order.

                    5.   Approval of the Purchase Agreement. The Purchase Agreement and the

Sale Transaction, including, without limitation, all transactions contemplated therein or in

connection therewith (including the Ancillary Agreements) and all of the terms and conditions

thereof, are hereby approved in their entirety, subject to the terms and conditions of this Order.

The failure specifically to include or make reference to any particular provisions of the Purchase

Agreement in this Order shall not impair the effectiveness of such provision, it being the intent

of the Court that the Purchase Agreement, the Sale Transaction, and the transactions

contemplated therein or in connection therewith (including the Ancillary Agreements) are

authorized and approved in their entirety.

                    6.   Consummation of Sale Transaction.      Pursuant to sections 105, 363,

and 365 of the Bankruptcy Code, the Debtors are authorized and directed to perform their

obligations under and comply with the terms of the Purchase Agreement and the Ancillary

Agreements, pursuant to and in accordance with the terms and conditions of the Purchase

Agreement, the Ancillary Agreements, and this Order. The Debtors, as well as their affiliates,

officers, employees, and agents, are authorized to execute and deliver, and empowered to

perform under, consummate, and implement, the Purchase Agreement, together with all

additional instruments and documents that may be reasonably necessary or desirable to

implement the Purchase Agreement, the Ancillary Agreements, and the Sale Transaction,

including the Ancillary Agreements, and to take all further actions and execute such other

documents as may be (a) necessary or appropriate to the performance of the obligations

contemplated by the Purchase Agreement, including, without limitation, making any regulatory



                                               - 20 -
DOCS_SF:104202.11
           Case:20-01947-jwb       Doc #:358 Filed: 10/12/2020         Page 25 of 108




filings necessary or advisable in connection with such transfer, and (b) as may be requested by

Buyer to implement the Purchase Agreement and the Sale Transaction, in accordance with the

terms thereof, without further order of the Court. The Buyer shall not be required to seek or

obtain relief from the automatic stay under section 362 of the Bankruptcy Code to enforce any of

its remedies under the Purchase Agreement, Ancillary Agreements, or any other Sale

Transaction-related document. The automatic stay imposed by section 362 of the Bankruptcy

Code is modified solely to the extent necessary to implement the preceding sentence and the

other provisions of this Order; provided, however, that the Court shall retain exclusive

jurisdiction over any and all disputes with respect thereto.

                    7.   Direction to Government Agencies.     To the greatest extent allowable

under applicable Law, each and every federal, state, local, or foreign government or

governmental or regulatory authority, agency, board, bureau, commission, court, department, or

other Governmental Entity is hereby directed to accept any and all documents and instruments

necessary and appropriate to consummate the Sale Transaction and the other transactions

contemplated by the Purchase Agreement and the Ancillary Agreements and approved by this

Order.

                    8.   Transfer of Assets Free and Clear and Injunction. Upon the Closing,

pursuant to sections 105(a), 363(b), 365(b), and 363(f) of the Bankruptcy Code, the transfer of

the Purchased Assets to Buyer shall (a) constitute a legal, valid, and effective transfer of all of

Debtors’ right, title, and interest in and to such Purchased Assets subject to and in accordance

with the Purchase Agreement, (b) vest Buyer with all of the Debtors’ right, title, and interest in

and to such Purchased Assets, and (c) be free and clear of all Liens against the Debtors and the

Purchased Assets (including Liens of any Governmental Entity), with such Liens attaching to the



                                               - 21 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020         Page 26 of 108




proceeds allocated to the Debtors in the order of their priority, with the same validity, force, and

effect that they had against such Purchased Assets immediately prior to the Closing. All persons

or entities that are presently, or on or after the Closing may be, in possession of some or all of the

Purchased Assets, are hereby directed to surrender possession of the Purchased Assets to Buyer

or its respective designees on the Closing Date or at such time thereafter as Buyer may request.

                    9.    Notwithstanding anything contained herein or in any other document, in

accordance with the Purchase Agreement, all fee interests, rights-of-way, easements, real

property interests, real rights, licenses, servitudes, permits, privileges, and leases (surface and

subsurface) owned or held by the Debtors, or hereinafter acquired by the Debtors prior to the

Closing, in each case, in connection with the Purchased Assets, constitute real property or a real

property interest, and together with the rights, tenements, appurtenant rights and privileges

related thereto (collectively, the “Real Property Interests”), shall, in accordance with the

Purchase Agreement, be transferred to Buyer, directly or indirectly, at the Closing

notwithstanding any consent rights, anti-assignment provisions, or any other provisions

purporting to prohibit or condition the transfer or assignment of such Real Property Interests

contained in such Real Property Interests, or in any other document, and all such rights,

provisions, prohibitions, and conditions shall be void and of no force and effect with respect to

the Sale Transaction.

                    10.   To the extent provided for in the Purchase Agreement, any and all of the

Debtors’ security deposits, or other security held by landlords, lessors, and other counterparties

to the Assumed Contracts are being transferred and assigned to, and shall be the property of, the

Buyer from and after the Closing, which transfer and assignment of security deposits, other

deposits, or security shall satisfy in full the requirements of section 365(l) of the Bankruptcy



                                                - 22 -
DOCS_SF:104202.11
           Case:20-01947-jwb          Doc #:358 Filed: 10/12/2020        Page 27 of 108




Code for all contracts, leases, and licenses assumed and assigned pursuant to this Order or the

Purchase Agreement.

                    11.   Subject to the terms, conditions, and provisions of this Order, all persons

and entities are hereby forever prohibited and barred from taking any action that would adversely

affect or interfere (a) with the ability of the Debtors to sell and transfer the Purchased Assets to

Buyer in accordance with the terms of the Purchase Agreement, the Ancillary Agreements, and

this Order and (b) with the ability of the Buyer to acquire, take possession of, use, and operate

the Purchased Assets in accordance with the terms of the Purchase Agreement, the Ancillary

Agreements, and this Order.         Notwithstanding the foregoing, nothing in this Order or the

Purchase Agreement shall prohibit any party from seeking to enforce or collect any of the

Assumed Liabilities against the Buyer.

                    12.   Except as otherwise provided in the Purchase Agreement or herein, all

Persons (and their respective successors and assigns) including, without limitation, the Debtors,

the Debtors’ estates, all debt security holders, equity security holders, governmental tax and

regulatory authorities, lenders, customers, vendors, employees, former employees, litigation

claimants, trustees, trade creditors, and any other creditors (or agent of any of the foregoing) who

may or do hold Liens (whether legal or equitable, secured or unsecured, matured or unmatured,

contingent or noncontingent, senior or subordinated) against the Debtors or the Purchased Assets

owned by the Debtors arising under or out of, in connection with, or in any way relating to, the

Debtors, the Purchased Assets, the operation of the Purchased Assets by the Debtors prior to the

Closing, or the Sale Transaction, are hereby forever barred, estopped, and permanently enjoined

from asserting or pursuing such Liens against Buyer, its affiliates, successors, assigns, its

property, or the Purchased Assets, including, without limitation, taking any of the following



                                                 - 23 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020        Page 28 of 108




actions with respect to any Liens: (a) commencing or continuing in any manner any action,

whether at law or in equity, in any judicial, administrative, arbitral, or any other proceeding,

against Buyer, its affiliates, successors, assigns, assets (including the Purchased Assets), or

properties; (b) enforcing, attaching, collecting, or recovering in any manner any judgment,

award, decree, or order against Buyer, its affiliates, successors, assigns, assets (including the

Purchased Assets), or properties; (c) creating, perfecting, or enforcing any Lien against Buyer, its

affiliates, any of their respective successors, assigns, assets (including the Purchased Assets), or

properties; (d) asserting a Lien as a setoff, right of subrogation, or recoupment of any kind

against any obligation due against Buyer, its affiliates, or any of their respective successors or

assigns; or (e) commencing or continuing any action in any manner or place that does not

comply, or is inconsistent, with the provisions of this Order or the agreements or actions

contemplated or taken in respect thereof. No such Person shall assert or pursue against Buyer or

its affiliates, successors, or assigns any such Lien.

                    13.   Licenses and Permits; Liquor Licenses. To the greatest extent allowable

under applicable Law, (a) the Buyer shall be authorized, as of the Closing Date, to operate under

any license, permit, approval, grant, certificate of occupancy, state food service license, local

occupational license, certificate of need, authorization, accreditation, operating permit, health

inspection permit, registration, plan, or any similar governmental authorization or approval of the

Debtors with respect to the Purchased Assets, including the Liquor Licenses (collectively, the

“Permits”), (b) all such Permits are deemed to have been, and hereby are, deemed to be

transferred to the Buyer as of the Closing Date, and (c) each Governmental Entity that has issued

or granted a Permit to, or for the benefit of, the Sellers shall be deemed to have consented to the

transfer of such Permit to the Buyer as of the Closing Date. To the maximum extent provided by



                                                - 24 -
DOCS_SF:104202.11
           Case:20-01947-jwb          Doc #:358 Filed: 10/12/2020         Page 29 of 108




section 525 of the Bankruptcy Code, no Governmental Entity may revoke or suspend any Permit

sold, transferred, assigned, or conveyed, or deemed to be sold, transferred, assigned, or

conveyed, to the Buyer on account of the filing or pendency of these chapter 11 cases or the

consummation of the Sale Transaction.          Notwithstanding the foregoing or anything to the

contrary contained in this Order, the Purchase Agreement, or the Ancillary Agreements, the

Debtors and Buyer are not entering into a transition agreement with respect to the Liquor

Licenses (or otherwise) and as of the Closing Date the purchase and sale of alcohol shall be

undertaken solely by the Buyer who will be solely responsible for the purchase and sale of

alcohol related to the Continuing Restaurants.

                    14.   To the extent any Permit necessary for the operation of the Business at the

Continuing Restaurants is not an assumable and assignable executory contract, the Buyer shall

make reasonable efforts to apply for and obtain any such Permit promptly after the Closing Date.

To the greatest extent allowable under applicable law, all existing Permits applicable to the

Continuing Restaurants, including but not limited to the Liquor Licenses, shall remain in place

for the Buyer’s benefit until either new Permits are obtained or existing Permits are transferred in

accordance with applicable administrative procedures and to the extent any of the Continuing

Restaurants are operated under any such Permits after the Closing Date, the Buyer shall fully

indemnify the Debtors, or any successor in interest to the Debtors, including a chapter 11 trustee

or chapter 7 trustee, for any and all costs and liabilities arising thereunder without limitation.

                    15.   With regard to the sale of alcohol at the Continuing Restaurants, pursuant

to the Purchase Agreement, the Debtors and all other parties in interest shall cooperate fully with

and support the Buyer in executing such applications and furnishing such documents as are

necessary for the Buyer to obtain Liquor License Approvals at the Buyer’s sole expense. For the



                                                 - 25 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020       Page 30 of 108




avoidance of doubt, the Debtors shall have no post-Closing Date obligations to purchase or sell

alcohol under the Liquor Licenses and all such sales shall be conducted by the Buyer, under

existing Liquor Licenses to the greatest extent allowable under applicable law. Moreover, except

for violations of Law unrelated to the transfer of ownership of the Purchased Assets occurring

pursuant to the Purchase Agreement and this Sale Order, and to the greatest extent allowable

under applicable law, including, but not limited to, section 525 of the Bankruptcy Code, all law

enforcement and regulatory agencies shall not interrupt the Business conducted at the Continuing

Restaurants, including the sale of alcohol by the Buyer either on its own behalf, or on behalf of

one or more of the Debtors, without first obtaining relief from this Court. To the greatest extent

allowable under applicable law, the Buyer may continue to operate at the Continuing Restaurants

under existing Liquor Licenses and other Permits needed to operate at the Continuing

Restaurants, with no interruption of the business conducted at the premises, until the Liquor

License Approvals have been obtained and other Permits have been transferred or issued to the

Buyer; provided, however, to the extent such operation by the Buyer under the existing Liquor

Licenses gives rise to any liability against the Debtors the Buyer shall fully indemnify the

Debtors, or any successor in interest to the Debtors, including a chapter 11 trustee or chapter 7

trustee, for any and all costs and liabilities arising therefrom.

                    16.   Possession of any and all alcohol Inventory shall be surrendered to the

Buyer at the earliest of (a) immediately following Closing where allowed by applicable Law;

(b) receipt by the Buyer of authorization from the applicable Governmental Entity where

required by applicable Law; or (c) receipt by the Buyer of the applicable Liquor License or

Liquor License Approval and the Debtors shall not purchase or sell alcohol Inventory after the

Closing for the Buyers or any other party; provided that, notwithstanding the foregoing, legal



                                                - 26 -
DOCS_SF:104202.11
           Case:20-01947-jwb          Doc #:358 Filed: 10/12/2020         Page 31 of 108




possession of such Inventory shall not be surrendered to the Buyer if doing so would violate

applicable law in each applicable jurisdiction..

                    17.   If, and only if, the real estate lease, dated as of June 10, 2014, between

Liberty Maynard, L.L.C. and HopCat Ann Arbor, LLC, is not assumed and assigned to the Buyer

or its designee in accordance with the Purchase Agreement on the Closing Date, the Michigan

Class C Liquor License associated with such lease shall not be a Purchased Asset under the

Purchase Agreement and shall be abandoned to Liberty Maynard, L.L.C. and HopCat Ann

Arbor, LLC on the Closing Date.

                    18.   No Successor or Other Derivative Liability. Upon the Closing, all Persons

are permanently and forever prohibited from asserting against Buyer or the Purchased Assets any

Lien arising under any theory of successor or transferee liability, de facto merger, or continuity

liability, whether known or unknown as of the Closing, now existing or hereafter arising,

asserted or unasserted, fixed or contingent, liquidated, or unliquidated.

                    19.   This Order shall be effective as a determination that, upon the Closing, all

Liens as to the Purchased Assets prior to the Closing have been unconditionally released,

discharged, and terminated to the fullest extent permitted by applicable Law, and that the

conveyances described herein have been effected. In connection with the Closing, a certified

copy of this Order may be filed and/or recorded with the appropriate filing agents, filing officers,

administrative agencies or units, governmental departments, secretaries of state, federal, state,

and local officials, and all other persons, institutions, agencies, and entities who may be required

by operation of law, the duties of their office, or contract evidencing the release, cancelation, and

termination provided herein of any Liens of record on the Purchased Assets prior to the date of

this Order.



                                                 - 27 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020        Page 32 of 108




                    20.   Following the Closing, no holder of any Lien shall interfere with Buyer’s

title to or use or enjoyment of the Purchased Assets based on or related to any Lien or based on

any actions or omissions by the Debtors, including any actions or omissions the Debtors may

take in these chapter 11 cases.

                    21.   If any Person that has filed statements or other evidence of Liens in

respect of the Purchased Assets shall not have delivered to the Debtors before the Closing after

due demand therefor, in proper form for filing and executed by the appropriate parties,

termination statements, instruments of satisfaction, releases of liens and easements, and any

other documents necessary for the purpose of documenting the release of such interests that such

Person has or may assert with respect to the Purchased Assets, the Debtors or Buyer are

authorized to execute and file such statements, instruments, releases, and other documents on

behalf of such Person with respect to such Purchased Assets without any further Order of the

Court.

                    22.   Except as expressly set forth in the Purchase Agreement, the Ancillary

Agreements or this Order, and except with respect to the Assumed Contracts, Buyer and each of

its affiliates, successors, assigns, members, partners, officers, directors, principals, and

shareholders shall have no liability whatsoever for any Liens, whether known or unknown as of

the Closing, now existing or hereafter arising, whether fixed or contingent, whether liquidated or

unliquidated, whether asserted derivatively or vicariously, whether asserted based on Buyer’s

status as a transferee, successor, or otherwise, of any kind, nature, or character whatsoever,

including Liens based on, relating to, or arising under, without limitation: (a) any employment or

labor agreement; (b) any pension, welfare, compensation, or other Employee Benefit Plan,

agreements, practices, and programs, including, without limitation, any pension or Employee



                                                - 28 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020           Page 33 of 108




Benefit Plan of or related to any of the Debtors or any Debtor’s affiliates or predecessors or any

current or former employees of any of the foregoing; (c) the Debtors’ business operations or the

cessation thereof; (d) any litigation involving one or more of the Debtors; (e) any employee,

workers’ compensation, occupational disease or unemployment or temporary disability related

law, including, without limitation, any claims, rights, or causes of action that might arise under

or pursuant to (i) the Employee Retirement Income Security Act of 1974, as amended, (ii) the

Fair Labor Standards Act, (iii) Title VII of the Civil Rights Act of 1964, (iv) the Federal

Rehabilitation Act of 1973, (v) the Worker Adjustment and Retraining Notification Act of 1988,

(vi) the Age Discrimination and Employee Act of 1967 and Age Discrimination in Employment

Act, as amended, (vii) the Americans with Disabilities Act of 1990, (viii) the Consolidated

Omnibus Budget Reconciliation Act of 1985, (ix) state and local discrimination laws, (x) state

and local unemployment compensation laws or any other similar state and local laws, (xi) state

workers’ compensation laws, or (xii) any other state, local, or federal employee benefit laws,

regulations, or rules or other state, local, or federal laws, regulations or rules relating to, wages,

benefits, employment, or termination of employment with any or all Debtors or any of their

predecessors; (f) any antitrust laws; (g) any product liability or similar laws, whether state,

federal, or otherwise; (h) any environmental laws, rules, or regulations, including, without

limitation, under the Comprehensive Environmental Response, Compensation, and Liability Act,

42 U.S.C. §§ 9601, et seq., or similar state statutes; (i) any bulk sales or similar laws; (j) any

federal, state, or local tax statutes, rules, regulations, or ordinances, including, without limitation,

the Internal Revenue Code of 1986, as amended; and (k) any common law doctrine of de facto

merger, successor, transferee, or vicarious liability, substantial continuity liability, successor-in-

interest liability theory, or any other theory of or related to successor liability.



                                                 - 29 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020       Page 34 of 108




                    23.   Upon the Closing, this Order shall be construed and shall constitute for

any and all purposes a full and complete general assignment, conveyance, and transfer of the

Purchased Assets transferring good and marketable, indefeasible title to and interest in all of the

Purchased Assets to Buyer pursuant to the terms of the Purchase Agreement.

                    24.   Assumption and Assignment of the Assumed Contracts. Subject to and

conditioned upon the Closing, the Debtors are hereby authorized in accordance with

sections 105(a) and 365 of the Bankruptcy Code to assume and assign the Assumed Contracts to

Buyer free and clear of all Liens, and to execute and deliver to Buyer such documents or other

instruments as may be necessary to assign and transfer the Assumed Contracts to Buyer as

provided in the Purchase Agreement. In accordance with the Bid Procedures Order and the

terms of this Order, following the Closing, Buyer shall be fully and irrevocably vested with all of

the Debtors’ right, title, and interest in and under the Assumed Contracts, free and clear of any

Liens, and each Assumed Contract shall be fully enforceable by Buyer in accordance with its

respective terms and conditions, except as limited by this Order. For the avoidance of doubt,

nothing in this paragraph affects Buyer’s right to re-designate an Assumed Contract for rejection

in accordance with Section 2.6(b) of the Purchase Agreement.

                    25.   In connection with the assumption and assignment of the Assumed

Contracts to Buyer in accordance with the terms of this Order and Section 2.6 of the Purchase

Agreement, the Debtors are authorized, upon the written consent of Buyer, to enter into any

amendment, modification, or similar agreement with a Counterparty to an Assumed Contract to

modify the terms of such Assumed Contract prior to the effective date of assignment of such

Assumed Contract to Buyer.




                                                - 30 -
DOCS_SF:104202.11
             Case:20-01947-jwb       Doc #:358 Filed: 10/12/2020       Page 35 of 108




                    26.   Adequate Assurance of Future Performance. All of the requirements of

sections 365(b) and 365(f) of the Bankruptcy Code, including without limitation, the

demonstration of adequate assurance of future performance, have been satisfied for the

assumption by the Debtors, and the assignment by the Debtors to Buyer, solely with respect to

the Assumed Contracts.        Buyer has satisfied its adequate assurance of future performance

requirements with respect to the Assumed Contracts and has demonstrated it is sufficiently

capitalized or otherwise able to comply with the necessary obligations under the Assumed

Contracts.

                    27.   Cure Costs. The Cure Costs set forth on Exhibit A annexed hereto (the

“Final Cure Schedule”) are the sole amounts, if any, necessary under sections 365(b)(1)(A) and

(B) and 365(f)(2)(A) of the Bankruptcy Code, except as otherwise agreed to in writing by the

Buyer and the applicable Counterparty with respect to such Cure Cost, to cure all defaults and

pay all actual losses under the Assumed Contracts. To the extent a Counterparty to an Assumed

Contract failed to timely object to a Cure Cost, such Cure Cost has been and shall be deemed to

be finally determined as set forth on the Final Cure Schedule, and any such Counterparty shall be

barred, and forever prohibited from: (i) challenging, objecting to, or denying the validity and

finality of the Cure Cost as of the Closing Date, and (ii) asserting against the Debtors, their

estates, Buyer, and their respective successors and assigns, any pecuniary loss resulting from a

default allegedly arising or occurring under the Assumed Contracts before the Closing Date.

                    28.   Payment of Cure Costs. Except as otherwise specifically provided for by

order of the Court, or as otherwise agreed to in writing between the Debtor and the Counterparty,

all defaults or other obligations of the Debtors under the Assumed Contracts arising or accruing

prior to the Closing Date or required to be paid pursuant to section 365 of the Bankruptcy Code



                                                - 31 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020        Page 36 of 108




in connection with the assumption and assignment of the Assumed Contracts (in each case,

without giving effect to any acceleration clauses or any default provisions of the kind specified

in section 365(b)(2) of the Bankruptcy Code), whether monetary or non-monetary, shall be

promptly cured pursuant to the terms of the Purchase Agreement and this Order by the Debtors’

payment of the applicable Cure Cost in accordance with the Purchase Agreement and as set forth

on the Final Cure Schedule. The failure of the Debtors or Buyer to enforce at any time one or

more terms or conditions of any Assumed Contract shall not be a waiver of such terms or

conditions, or of the Debtors’ and Buyer’s rights to enforce every term and condition of such

Assumed Contract.

                    29.   Buyer’s Standing; Debtors’ Standing. The Buyer shall have standing to

object to the allowance of claims (as such term is defined in section 101(5) of the Bankruptcy

Code) asserted against the Debtors or their estates including, without limitation, any unresolved

or disputed Assumed Liabilities or otherwise, that constitute obligations assumed by the Buyer

pursuant to the terms of the Purchase Agreement. Nothing in this Order shall divest the Debtors

of their standing or duty as debtors-in-possession under the Bankruptcy Code from reconciling

claims asserted against the Debtors or their estates and objecting to any such claims that should

be reduced, reclassified, or otherwise disallowed.

                    30.   Ipso Facto Clauses Ineffective. With respect to the Assumed Contracts, in

connection with the Sale Transaction: (a) the Debtors may assume each of the Assumed

Contracts in accordance with section 365 of the Bankruptcy Code; (b) the Debtors may assign

each Assumed Contract in accordance with sections 363 and 365 of the Bankruptcy Code, and

any provisions in any Assumed Contract that prohibit or condition the assignment of such

Assumed Contract or allow the party to such Assumed Contract to terminate, recapture, impose



                                                - 32 -
DOCS_SF:104202.11
           Case:20-01947-jwb      Doc #:358 Filed: 10/12/2020         Page 37 of 108




any penalty, condition renewal or extension, or modify any term or condition upon the

assignment of such Assumed Contract, constitute unenforceable anti-assignment provisions

which are void and of no force and effect; (c) all other requirements and conditions under

sections 363 and 365 of the Bankruptcy Code for the assumption by the Debtors and assignment

to the Buyer of each Assumed Contract have been satisfied; and (d) effective upon the Closing

Date or any later applicable effective date with respect to a particular Assumed Contract, the

Assumed Contracts shall be transferred and assigned to, and from and following the Closing or

such later applicable effective date shall remain in full force and effect for the benefit of, the

Buyer, notwithstanding any provision in any Assumed Contract (including those of the type

described in sections 365(b)(2) and (e) of the Bankruptcy Code) that prohibits, restricts, or

conditions such assignment or transfer and, pursuant to section 365(k) of the Bankruptcy Code,

the Buyer shall be deemed to be substituted for the applicable Debtor as a party to the applicable

Assumed Contract and the Debtors shall be relieved from any further liability with respect to the

Assumed Contracts after such assumption by the Debtors and assignment to the Buyer, except as

otherwise provided in the Purchase Agreement. To the extent any provision in any Assumed

Contract assumed and assigned pursuant to this Order (x) prohibits, restricts, or conditions, or

purports to prohibit, restrict, or condition, such assumption and assignment (including, without

limitation, any “change of control” provision), or (y) is modified, breached, or terminated, or

deemed modified, breached, or terminated by any of the following: (i) the commencement of the

chapter 11 cases, (ii) the insolvency or financial condition of any of the Debtors at any time

before the closing of the chapter 11 cases, (iii) the Debtors’ assumption and assignment of such

Assumed Contract, (iv) a change of control or similar occurrence; or (v) the consummation of the

Sale Transaction, then such provision shall be deemed modified in connection with the Sale



                                              - 33 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020       Page 38 of 108




Transaction so as not to entitle the Counterparty to prohibit, restrict, or condition such

assumption and assignment, to modify, terminate, or declare a breach or default under such

Assumed Contract, or to exercise any other default-related rights or remedies with respect

thereto, including without limitation, any such provision that purports to allow the Counterparty

to terminate or recapture such Assumed Contract, impose any penalty, additional payments,

damages, or other financial accommodations in favor of the Counterparty thereunder, condition

any renewal or extension thereof, impose any rent acceleration or assignment fee, or increase or

otherwise impose any other fees or other charges in connection therewith. All such provisions

constitute unenforceable anti-assignment provisions that are void and of no force and effect in

connection with the Sale pursuant to sections 365(b), 365(e), and 365(f) of the Bankruptcy Code.

                    31.   Use of PPP Cash. From the date hereof through and including the Closing

Date, the Sellers shall use the PPP Cash to (a) pay the Cure Amounts related to any Assumed

Contract for Leased Real Property, and, to the extent there is any PPP Cash remaining, (b) use

the remaining PPP Cash to pay the payroll (and any Taxes related thereto) of the Transferred

Employees until no PPP Cash remains; provided, however, if (x) the Closing Date is after 12:01

a.m. (Eastern Time) on October 19, 2020 and (y) no PPP Cash remains, then the Buyer shall

reimburse the Debtors’ estates for each dollar of non-PPP Cash used for authorized PPP

expenses (e.g., rent, payroll, utilities, etc.) after 12:01 a.m. (Eastern Time) on October 19, 2020.

Notwithstanding anything in the Purchase Agreement or this Order to the contrary, and for the

avoidance of doubt, to the extent this paragraph 31 conflicts with any other terms of the Purchase

Agreement (including but not limited to Sections 2.1(a) 2.3(a), 2.3(d), and 5.9), the terms of this

paragraph 31 shall prevail.




                                                - 34 -
DOCS_SF:104202.11
           Case:20-01947-jwb            Doc #:358 Filed: 10/12/2020                Page 39 of 108




                    32.   The Debtors shall use commercially reasonable efforts to provide the

Committee and any liquidating or chapter 7 trustee, as applicable, with all documentation

necessary to seek forgiveness of any amounts outstanding under any loan received by the

Debtors under the Coronavirus Aid, Relief and Economic Security Act’s Paycheck Protection

Program. The Debtors shall reasonably cooperate with the Committee and any liquidating or

chapter 7 trustee, as applicable, in pursuing any application requirements for such forgiveness.

                    33.   Wind-Down Budget.3 Upon the entry of an order (a) dismissing these

chapter 11 cases or (b) converting these chapter 11 cases to cases under chapter 7, to the extent

there are any funds remaining in the Wind-Down Budget, such remaining funds shall be turned

over to the Prepetition Secured Lenders.               The Wind-Down Budget shall account for the

aggregate allowed fees and expenses payable and/or reimbursable by the Debtors to the

Committee’s professionals, Sugar Felsenthal Grais & Helsinger, LLP, Jaffe Raitt Heuer &

Weiss, P.C., and Amherst Partners, in an amount not greater than $299,297.00. The aggregate

allowed fees payable and expenses reimbursable by the Debtors to their retained professionals

Pachulski Stang Ziehl & Jones LLP, Warner Norcross + Judd LLP, and Rock Creek Advisors,

LLC, shall not be greater than 107.5 percent of the sum of total amounts budgeted to such

professionals as set forth in the Wind-Down Budget.4 Additionally, Buyer shall assume all

liabilities related to: (a) any Cure Costs associated with the assumption of the lease agreement

between Ionia Ventures, LLC and debtor GRBC Holdings, LLC and (b) any credit card


3
        For the avoidance of doubt, the Wind-Down Budget is predicated on the closing of the Sale Transaction
        occurring on or before October 19, 2020. The Debtors, the Buyer and the Committee shall work in good
        faith to prepare a revised Wind-Down Budget in the event that the Sale Transaction fails to close on or
        before October 19, 2020.

4
        For the avoidance of doubt, the fees payable and expenses reimbursable by the Debtors to Mastodon
        Ventures, Inc., shall not be subject to such permitted variance but shall, instead, be subject to the amounts
        approved by the Order (I) Authorizing the Retention and Employment of Mastodon Ventures, Inc. as
        Investment Banker to the Debtors, Nunc Pro Tunc to the Petition Date, (II) Waiving the Information

                                                      - 35 -
DOCS_SF:104202.11
           Case:20-01947-jwb           Doc #:358 Filed: 10/12/2020               Page 40 of 108




interchange fees and real estate property taxes in excess of the amounts set forth in the Wind-

Down Budget.

                    34.   Good Faith; Statutory Mootness. Buyer is a good faith purchaser within

the meaning of section 363(m) of the Bankruptcy Code and, as such, is entitled to, and is hereby

granted, the full rights, benefits, privileges, and protections of section 363(m) of the Bankruptcy

Code.     The Sale Transaction contemplated by the Purchase Agreement and the Ancillary

Agreements is undertaken by Buyer without collusion and in good faith, as that term is defined

in section 363(m) of the Bankruptcy Code, and accordingly, the reversal or modification on

appeal of the authorization provided herein shall neither affect the validity of the Sale

Transaction (including the assumption and assignment of the Assumed Contracts) nor the

transfer of the Purchased Assets to Buyer, free and clear of all Liens pursuant to the Purchase

Agreement. The Debtors and Buyer will be acting in good faith if they proceed to consummate

the Sale Transaction at any time after entry of this Order.

                    35.   No Avoidance of Purchase Agreement. Neither the Debtors nor the Buyer

has engaged in any conduct that would cause or permit the Purchase Agreement to be avoided or

costs or damages to be imposed under section 363(n) of the Bankruptcy Code. Accordingly, the

Purchase Agreement and the Sale Transaction shall not be avoidable under section 363(n) of the

Bankruptcy Code, and no party shall be entitled to any damages or other recovery pursuant to

section 363(n) of the Bankruptcy Code in respect of the Purchase Agreement or the Sale

Transaction.

                    36.   Modification of Purchase Agreement. Subject to the terms of the Purchase

Agreement and the Ancillary Agreements, as applicable, the Purchase Agreement, the Ancillary


        Requirements of Local Rule 2016-2(d), and (III) Granting Related Relief [Docket No. 274], as reflected in
        the Wind-Down Budget.

                                                    - 36 -
DOCS_SF:104202.11
           Case:20-01947-jwb          Doc #:358 Filed: 10/12/2020      Page 41 of 108




Agreements, and any related agreements, documents, or other instruments may be modified,

amended, or supplemented through a written document signed by the parties thereto in

accordance with the terms thereof and this Order without further order of the Court; provided

that; (a) notwithstanding any such modification, amendment, or supplement, the sale of the

Purchased Assets to Buyer will still comply with the requirements of section 363 of the

Bankruptcy Code; and (b) such modifications, amendment, or supplement is not inconsistent

with this Order.

                    37.   Record Retention. Following the Closing, the Debtors, their successors

and assigns, and any trustee in bankruptcy will have access to the Debtors’ books and records for

the specified purposes set forth in, and subject to the terms and limitations contained in, the

Purchase Agreement. To the extent that the Debtors maintain books and records electronically,

an electronic copy of such books and records shall remain with the Debtors after the Closing.

                    38.   Standing.   The Purchase Agreement shall be in full force and effect,

regardless of any Debtor’s lack of good standing in any jurisdiction in which such Debtor is

formed or authorized to transact business.

                    39.   Bulk Sales; Taxes. No bulk sales law, bulk transfer law, or any similar

law of any state or other jurisdiction shall apply to the Debtors’ conveyance of the Purchased

Assets or this Order.

                    40.   Reservation of Rights. Nothing in this Order shall be deemed to waive,

release, extinguish, or estop the Debtors or their estates from asserting or otherwise impair or

diminish any right (including any right of recoupment), claim, cause of action, defense, offset, or

counterclaim in respect of any asset that is not a Purchased Asset. All of the provisions of this

Order are non-severable and mutually dependent. To the extent that this Order is inconsistent



                                                - 37 -
DOCS_SF:104202.11
           Case:20-01947-jwb          Doc #:358 Filed: 10/12/2020        Page 42 of 108




with any prior order or pleading with respect to the Motion in these chapter 11 cases, the terms

of this Order shall control.

                    41.   Conflicts. In the event there is a conflict between this Order and the

Purchase Agreement (including any Ancillary Agreements executed in connection therewith),

this Order shall control and govern.

                    42.   Waiver of Bankruptcy Rules 6004(h) and 6006(d). Notwithstanding the

provisions of rules 6004(h) and 6006(d) of the Bankruptcy Rules or any applicable provisions of

the Local Bankruptcy Rules for the United States Bankruptcy Court for the Western District of

Michigan, this Order shall not be stayed after the entry hereof, but shall be effective and

enforceable immediately upon entry, and the fourteen-day stay provided in rules 6004(h)

and 6006(d) of the Bankruptcy Rules is hereby expressly waived and shall not apply, and the

Debtors and Buyer are authorized and empowered to close the Sale Transaction immediately

upon entry of this Order.

                    43.   Personally Identifiable Information. After giving due consideration to the

facts, circumstances, and conditions of the Purchase Agreement, the Sale Transaction is

consistent with the Debtors’ privacy policies concerning personally identifiable information and

no showing was made that the sale of any personally identifiable information contemplated in the

Purchase Agreement, subject to the terms of this Order, would violate applicable non bankruptcy

law.

                    44.   Binding Effect of this Order. This Order and the Purchase Agreement

shall be binding in all respects upon, and shall inure to the benefit of, Buyer, the Debtors’ estates,

the Debtors, their affiliates, any trustee appointed in the Debtors’ chapter 11 cases, all creditors

(whether known or unknown) of any Debtor, all holders of interests in the Purchased Assets, all



                                                 - 38 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020        Page 43 of 108




interested parties, and their successors and assigns. Any trustee appointed for the Debtors under

any provision of the Bankruptcy Code, whether the Debtors are proceeding under chapter 7 or

chapter 11 of the Bankruptcy Code, shall be authorized to (a) operate the business of the Debtors

to the fullest extent necessary to permit compliance with the terms of the Purchase Agreement

and the Ancillary Agreements and (b) perform under the Purchase Agreement and the Ancillary

Agreements without the need for further order of this Court.

                    45.   Subsequent Plan Provisions. Nothing contained in any chapter 11 plan

confirmed in the Debtors’ chapter 11 cases, any order confirming any such plan, or in any other

order in these chapter 11 cases (including any order entered after any conversion of any of these

chapter 11 cases to a case under chapter 7 of the Bankruptcy Code) or any related proceeding

subsequent to entry of this Order shall alter, conflict with, or derogate from the provisions of the

Purchase Agreement or this Order.

                    46.   Retention of Jurisdiction. This Court retains exclusive jurisdiction with

respect to all matters arising from or related to the Purchase Agreement (and such other related

agreements, documents, or other instruments) and to interpret, implement, and enforce the terms

of this Order

                    47.   Prepetition Secured Lenders’ Deficiency Claim.          Notwithstanding

anything to the contrary contained in this Order or the Purchase Agreement, effective as of the

Closing (but only if the Closing actually occurs), the Prepetition Lenders shall waive, and receive

no distribution on account of, any and all unsecured deficiency claims with respect to the

Prepetition Obligations.

                    48.   Additional Cash Consideration for Purchased Assets. Notwithstanding

anything to the contrary contained in this Order or the Purchase Agreement, as additional



                                                - 39 -
DOCS_SF:104202.11
           Case:20-01947-jwb          Doc #:358 Filed: 10/12/2020        Page 44 of 108




consideration for the sale and transfer of the Purchased Assets, the Purchase Price shall include

$225,000 in cash, payable by the Buyer to the Debtors on the Closing Date (but only if the

Closing actually occurs), to be held in escrow until confirmation of a chapter 11 plan or

conversion of these cases, and to be used exclusively by any chapter 11 trustee or chapter 7

trustee, acting on behalf of the Debtors’ estates, as applicable, at his or her discretion, with any

remainder to be distributed to creditors pursuant to the Bankruptcy Code.

                    49.   Debtors’ Claims and Causes of Action. Notwithstanding anything to the

contrary contained in this Order or the Purchase Agreement, all Purchased Actions shall

comprise Excluded Assets and shall not comprise Purchased Assets, except for any claims or

causes of action against a trade vendor and/or service provider that the Buyer reasonably expects

to provide goods and/or services to the Buyer upon and/or after the Closing Date, identified on

Exhibit C attached hereto (each entity identified therein, an “Ongoing Business Party”), which

claims and causes of action shall remain Purchased Assets under the Purchase Agreement;

provided that Excluded Assets shall further include any claims and causes of action against a

non-Debtor transferee of assets, including but not limited to any Ongoing Business Party, that

received such assets from or at the direction of any director or officer (including, but not limited

to, Mark Sellers) for the primary benefit of such director or officer individually.

                    50.   Releases.   Effective as of the Closing Date (but only if the Closing

actually occurs), the Prepetition Secured Lenders, Administrative Agent, Buyer, Debtors,

Committee, and members of the Committee (solely in their roles as Committee members and not

as individual creditors) and their respective professionals (collectively, the “Release Parties”)

will be deemed released and discharged by each and all of the other Release Parties and the

Debtors’ estates from any and all claims, obligations, rights, suits, damages, causes of action,



                                                - 40 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020        Page 45 of 108




remedies, and liabilities whatsoever, including any derivative claims, asserted or assertable on

behalf of any of the Release Parties or the Debtors’ estates, as applicable, whether known or

unknown, foreseen or unforeseen, existing in law, equity, or otherwise, that the Release Parties

or the Debtors’ estates would have been legally entitled to assert in their own right (whether

individually or collectively) or on behalf of the holder of any claim against, or interest in, the

Debtors or other entity, based on or relating to, or in any manner arising from, in whole or in

part, the Debtors’ bankruptcy cases, the Debtors’ sale of assets to the Buyer in accordance with

this Order and the Purchase Agreement, the Bid Procedures, Credit Bid, or any Sale Transaction

or any other transaction, contract, instrument, release, or other agreement or document created or

entered into in connection with the Purchase Agreement, Ancillary Agreements, or this Order,

including but not limited to any claims under section 506(c) of the Bankruptcy Code; provided

that any right to enforce this Order and any right of estate professionals to seek allowance and

payment of professional fees is not so released by this paragraph.

                    51.   Insurance Claims. Nothing in the Purchase Agreement or this Order shall

be construed to waive, release or otherwise impact any claims that the Buyer may have to pursue

or receive the proceeds from claims under the Insurance Policies pursuant to Section 6.7 of the

Purchase Agreement (excluding any directors’ and officers’ liability Insurance Policies).

Nothing in the Purchase Agreement or this Order shall be construed to waive, release or

otherwise impact any claims that a chapter 11 or chapter 7 trustee may pursue on behalf of the

Debtors’ estates with respect to the Debtors’ directors and officers or their directors and officers

Insurance Policies.

                    52.   U.S. Trustee Fees. The U.S. Trustee shall not assess, claim, or seek to

charge any of the Debtors, their estates, the Buyer, the Administrative Agent, or the Prepetition



                                                - 41 -
DOCS_SF:104202.11
           Case:20-01947-jwb      Doc #:358 Filed: 10/12/2020        Page 46 of 108




Secured Lenders for any fees or charges related to or arising from any Sale Transaction approved

by this Order.


Dated: _________, 2020                           ___________________________________
       Grand Rapids, Michigan                    The Honorable James W. Boyd
                                                 United States Bankruptcy Judge




                                             - 42 -
DOCS_SF:104202.11
           Case:20-01947-jwb   Doc #:358 Filed: 10/12/2020   Page 47 of 108




                         EXHIBIT A
                                   Cure Costs




DOCS_SF:104202.11
                                  Case:20-01947-jwb   Doc #:358 Filed: 10/12/2020   Page 48 of 108



                                            EXECUTORY CONTRACTS*


                                                                                                            Agreed Upon Cure for
             Debtor                 Counter Party                           Contract Description                 Sale Order
Barfly Ventures, LLC   Accident Fund Insurance Company of America
                                                            Workers Compensation Insurance                                  $0.00
Barfly Ventures, LLC   Admiral Insurance Company            Excessive Liability Insurance                                   $0.00
Hopcat Beltline        ArrowWaste Inc.                      Trash and recycling services                                    $0.00
GRBC Holdings, LLC     ArrowWaste Inc.                      Trash and recycling services                                    $0.00
50 Amp Fuse, LLC       ArrowWaste Inc.                      Trash and recycling services                                    $0.00
Hopcat Grand Rapids    ArrowWaste Inc.                      Trash and recycling services                                    $0.00
Barfly Ventures, LLC   AvidXchange Inc.                     Payment network services                                        $0.00
Barfly Ventures, LLC   Blackhawk Network                    Gift cards                                                      $0.00
Hopcat Holland         Coverall of Western Michigan         Janitorial services                                             $0.00
Barfly Ventures, LLC   DoorDash, Inc.                       delivery services                                               $0.00
Hopcat Broad Ripple    DVCLEANINDY, LLC                     Cleaning services                                               $0.00
Barfly Ventures, LLC   ECOLAB                               warehousing, housekeeping, laundry, and other              $16,929.29
                                                            cleaning and santizing chemical products
Barfly Ventures, LLC   eFileCabinet                         document management software services                          $0.00
Barfly Ventures, LLC   Egencia LLC                          Travel services/assisted booking                               $0.00
EL Brewpub             Enviro - Master of West Michigan     Janitorial                                                     $0.00
Hopcat Beltline        Enviro - Master of West Michigan     Janitorial                                                     $0.00
Hopcat Kalamazoo       Enviro - Master of West Michigan     Janitorial                                                     $0.00
GRBC Holdings          Enviro - Master of West Michigan     Janitorial                                                     $0.00
Hopcat Grand Rapids    Enviro - Master of West Michigan     Janitorial                                                     $0.00
Stellas                Enviro - Master of West Michigan     Janitorial                                                     $0.00
                                   Case:20-01947-jwb   Doc #:358 Filed: 10/12/2020   Page 49 of 108



Barfly Ventures, LLC                                                                                        $750,000 ($250,000 at
50 Amp Fuse, LLC                                                                                              Closing to be paid by
GRBC Holdings, LLC                                                                                            Debtor and $500,000
9 Volt, LLC                                                                                                 promissory note to be
Hopcat Ann Arbor, LLC                                                                                        paid by the Buyer and
Hopcat Detroit, LLC                                                                                                 subject to final
                        Gordon Food Service                    Food distribution                                   documentation)
EL Brewpub, LLC
Hopcat Lexington, LLC
Hopcat Indianapolis
Hopcat Kansas City
Hopcat Lincoln
Hopcat Madison
Barfly Ventures, LLC    HotSchedules.com, Inc                  scheduling software                                     $16,968.00
Hopcat Lincoln          Huskers IMG Sports Marketing           marketing and sponsorship                                    $0.00
Barfly Ventures, LLC    Indian Harbor Insurance Company        Umbrella Insurance                                           $0.00
EL Brewpub LLC          My Green Michigan LLC                  Composting services                                          $0.00
Barfly Ventures, LLC    NCR Corporation                        IT software                                                  $0.00
Barfly Ventures, LLC    NCR Corporation                        cloud applications                                           $0.00
Barfly Ventures, LLC    NCR Corporation                        CMC software                                                 $0.00
Barfly Ventures, LLC    NCR Corporation                        remove loyalty                                               $0.00
Barfly Ventures, LLC    Nexonia Technologies Inc.              expense management software                                  $0.00
Barfly Ventures, LLC    OLO                                    delivery application                                         $0.00
Barfly Ventures, LLC    Paytronix Systems, Inc.                IT software services                                    $17,535.93
Barfly Ventures, LLC    Pepsi Beverages Company                Pepsi beverages exclusively                                  $0.00
GRBC Holdings, LLC      POSitive Solutions Group               phone support and POS hardware maintenance                   $5.00
Hopcat Ann Arbor        POSitive Solutions Group               phone support and POS hardware maintenance                   $5.00
Hopcat Beltline         POSitive Solutions Group               phone support and POS hardware maintenance                   $5.00
                                              Case:20-01947-jwb    Doc #:358 Filed: 10/12/2020   Page 50 of 108


Hopcat Broad Ripple               POSitive Solutions Group                  phone support and POS hardware maintenance    $5.00
Hopcat Detroit                    POSitive Solutions Group                  phone support and POS hardware maintenance    $5.00
EL Brewpub LLC                    POSitive Solutions Group                  phone support and POS hardware maintenance    $5.00
Hopcat Grand Rapids               POSitive Solutions Group                  phone support and POS hardware maintenance    $5.00
Hopcat Kalamazoo                  POSitive Solutions Group                  phone support and POS hardware maintenance    $5.00
Hopcat Lincoln                    POSitive Solutions Group                  phone support and POS hardware maintenance    $5.00
50 Amp Fuse, LLC                  POSitive Solutions Group                  phone support and POS hardware maintenance    $5.00
Barfly Ventures, LLC              Red Bull North America, Inc.              energy drink distribution and exclusivity     $0.00
Hopcat Detroit                    Republic Services                         trash and recycling services                  $0.00
Barfly Ventures, LLC              Round It Up America, Inc.                 charitable donation collections               $0.00
GRBC Holdings                     Swept Away                                Janitorial                                    $0.00
Grand Rapids                      Swept Away                                Janitorial                                    $0.00
Stellas                           Swept Away                                Janitorial                                    $0.00
Hopcat Beltline                   Swept Away                                Janitorial                                    $0.00
Barfly Ventures, LLC              TBX                                       menu design                                   $0.00
Barfly Ventures, LLC              Untappd                                   marketing services                            $0.00
EL Brewpub LLC                    Waste Management of Michigan              Trash and recycling services                  $0.00
Barfly Ventures, LLC              Yelp Inc                                  advertising services                          $8.22
Barfly Ventures, LLC              Travelers                                 General Liability Insurance                   $0.00
Barfly Ventures, LLC              Travelers                                 Automobile Insurance                          $0.00


*As noted in the Sale Order, Debtor reserves the right to still reject any executory contract up until the Closing Date
                                    Case:20-01947-jwb   Doc #:358 Filed: 10/12/2020     Page 51 of 108



                                           ADDITIONAL EXECUTORY CONTRACTS


                  Debtor                   Counter Party                               Contract Description                          Cure Amount


BarFly Ventures            58 Ionia Holdings, LLC                     Equipment Lease for equipment located in Detroit restaurant   $4,165.00
BarFly Ventures            Compeat                                    Back office software provider
                                                                                                                                    $0.00
BarFly Ventures            Wisely                                     Reservation / Table Mgmt. Software                            $0.00
                                                        Case:20-01947-jwb      Doc #:358 Filed: 10/12/2020           Page 52 of 108



                                                   UNEXPIRED REAL PROPERTY LEASES*
                                                                                                                         Cure Amount in Sale   Amendment to
             Debtor                           Counter Party                            Property Address                        Order              Lease
GRBC Holdings***                  Ionia Ventures, LLC                  1 Ionia Ave SW, Grand Rapids, MI 49503                $86,420.96            Yes
Hopcat-Detroit***                 4265 Woodward Ventures LLC           4265 Woodward Ave, Detroit, MI 48201                  $23,515.64            Yes
Hopcat-Grand Rapids               Lee Shore-Lemon Wheeler Building     25 Ionia Ave., Grand Rapids, MI 49503                 $48,764.37            No
Hop Cat-Ann Arbor***              Liberty Maynard LLC                  311 Maynard, Ann Arbor, MI 48104                      $50,986.80            Yes
Hopcat-E. Lansing/EL Brewpub***   A&G Partnership                      300 Grove, East Lansing, MI 48823                     $58,301.54            Yes
Hopcat-E. Beltine**               JK East Beltline Real Estate         2183 E Beltline Ave NE, Grand Rapids MI, 49525       $61,451.39             Yes
Hopcat-Holland**                  Greenen Dekock Properties, LLC       80 West 8th Street, Holland MI                       $23,320.13             Yes
Hopcat-Indianapolis**             6280 LLC                             6280 N. College Ave. Indianapolis, IN 46220          $102,312.12            Yes
Hopcat-Kalamazoo                  GTW Depot, LLC                       300 E. Water St., Kalamazoo, Michigan, 49007         $54,894.59             No
Hopcat-Lincoln**                  Project Oscar, LLC                   601 P. Street, Lincoln, NE 68508                     $50,733.66             Yes
Stellas's/50 Amp Fuse LLC***      50 Commerce Building, LLC            53 Commerce Ave, SW, Grand Rapids, MI 49503           $20,000.00            Yes



*As noted in the Sale Order, Debtor reserves the right to still reject any Lease up until the Closing Date
**Lease Amendment Signed
***Remains Subject to Execution of Lease Amendment

                                                  NEW REAL PROPERTY LEASE
                                                                                                                        Agreed Upon Cure for
              Debtor                            Counter Party                         Property Address                       Sale Order
BarFly Ventures (Temporary                                             280 Ann Street NW, Suite 110, Grand Rapids,
Corporate Office)                 280 Ann LLC                          Michigan 49504                                           N/A
           Case:20-01947-jwb   Doc #:358 Filed: 10/12/2020   Page 53 of 108




                         EXHIBIT B
                        Asset Purchase Agreement


                                [Intentionally Omitted]




DOCS_SF:104202.11
           Case:20-01947-jwb   Doc #:358 Filed: 10/12/2020   Page 54 of 108




                         EXHIBIT C
                               Purchased Actions




DOCS_SF:104202.11
            Case:20-01947-jwb      Doc #:358 Filed: 10/12/2020   Page 55 of 108


         Ongoing Trade Vendors / Service Providers
A & L Janitorial Inc.
ADP CLIENT TRUST
Airgas USA LLC - Rental
Allegra
Alliance Beverage Distributing LLC
Ameren Missouri
Armock Mechanical
Arrowaste Inc.
ASCAP
Becker & Poliakoff, PA
Beer City Glass
BHD0001--BHD, LLC
Borgetto Investments, LLC
Boston Square
Brewers Supply Group
Capitol Beverage Sales
CAVALI1--Cavalier Distributing Inc
Cavalier Distributing Inc
Centerpoint Energy
Certified Refrigeration & Mechanical, LLC
Citizens Energy Group
Comcast
ComEd
Comfort Systems USA Indiana
Consumer_s Energy
Corrigan Logistics
Corrine Johnson
Cozzini Bros Inc
Cross Roads Brewing Co
Dan Henry
Daniel L Jacob & Co. Inc
Dawson Rubin
Delta Dental
Dover Grease Traps, Inc.
DTE Energy
Eastown Distributors
EatGR LLC
Eclectic Imprint
ECOLAB
Ecolab Pest Elim Div
Enroll123, LLC
Enviro-Master of West Michigan
Eventbrite, Inc.


                                            Page 1
            Case:20-01947-jwb     Doc #:358 Filed: 10/12/2020   Page 56 of 108


       Ongoing Trade Vendors / Service Providers
Evergy
Evil Czeck Brewery & Public House
Fabiano Brothers
FedEx
Ferris Coffee & Nut Company, Inc
Field Fire Protection Inc
Final Clean Pro LLC
fintech
First Insurance Funding
Fish Window Cleaning
Glazers Wholesale Company
Gordon Food Service
Grand Rapids Graphix
Great America Financial Services
Great Lakes Beverage Co
Great Lakes West
GREATL1--Great Lakes Wine _ Spirits
Green For Life
GTT Communications
HC Woodward LLC
Henry A. Fox Sales Co.
HNI Risk Advisors
Hoekstra Electrical Services
Holland Board of Public Works
Holland Stitchcraft
Holston Gases
Humidity Controls LLC
Ice Town
ID Watchdog, Inc.
IHS Distributing
Imperial Beverage
INDIAN3--Indiana City Brewing
Infinisource Benefit Services
Insite Business Solutions
James Ferrari and Sons Inc
Jeff Meyer
Johnson Brothers
K&Z Distributing Co.
KegWorks
KM Prost LLC
Knight Investment Group
Lansing Board of Water and Light
Lee Shore Enterprises


                                           Page 2
            Case:20-01947-jwb      Doc #:358 Filed: 10/12/2020   Page 57 of 108


         Ongoing Trade Vendors / Service Providers
Lexington-Fayette Urban County Government
LG&E
Lincoln Electric Systems
Lincoln National Life Insurance Company
M4 C.I.C. LLC
Mervenne Beverage, Inc.
Michigan Dept of Treasury
Monarch Beverage
Mr Handyman Detroit
Mutual of Omaha
My Green Michigan LLC
My Handyman of Ann Arbor
Nantucket Baking Company
National Wine _ Spirits
Nick's Gyro's LLC
NRL Consulting
NuCO2
O & W, Inc
Oath Distributing
OLO
Omega :Yeast Labs
One Way Products
Open Table
Organix Recycling
Patty Matters
Pax Verum Brewing Co.
Phoebe Duvall
Plante & Moran, PLLC
Plaza Storage, LLC
Power Distributing
Premier Beverage CO
Premier-Midwest Beverage Co.
Produce Alliance
Professional Maintenance of Michigan, Inc.
Project 35 LLC
Quail Distributing, Inc.
Quality Brands of Lincoln LLC
R. L. Schrieber
R.E. Golden Produce Co
Rave Associates
Red Tap Solutions
Republic National Dist
Restaurant Technologies, Inc


                                            Page 3
            Case:20-01947-jwb      Doc #:358 Filed: 10/12/2020   Page 58 of 108


         Ongoing Trade Vendors / Service Providers
RLM Services LLC
Rotella's Italian Bakery, Inc.
Round It Up America, Inc.
Ryan Leibinger
Saladino Smoke LLC
Scott Cooley
South Broad Ripple Brewing Co
Southern Glaziers of MO
Southern Wine & Spirits
Sparkling Windows Corp.
Spire
Standard Sales Company
Star 2 Star Communications LLC
State Distributing
Sterling/Glaziers Distributing
Susan Kalee
TDS
The Guardian Brewing Co.
Time Warner Cable
Todd Kronebusch
Town Center Inc.
Tri-County Beverage Company
Unemployment Services, Inc.
Unifirst Corporation - Michigan
United Beverage
Valley City Linen
Verdolino & Lowey, P.C.
Verizon Wireless
Vicinity Energy Grand Rapids LLC
VSP Insurance Co.
Waste Management of Michigan
Welders Supply Company
West Side Beer Distributing
WestRock CP LLC
Wirtz Beverage Wisconsin
XCEL Energy
Zink Distributing




                                            Page 4
Case:20-01947-jwb   Doc #:358 Filed: 10/12/2020   Page 59 of 108




              EXHIBIT B
 Comparison to Original Proposed Sale Order
                Case:20-01947-jwb            Doc #:358 Filed: 10/12/2020              Page 60 of 108




                               UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF MICHIGAN

                                                                    x
                                                                    :
In re                                                               :       Chapter 11
                                                                    :
BARFLY VENTURES, LLC, et al.,1                                      :       Case No. 20-01947-jwb
                                                                    :
                                         Debtors.                   :       Jointly Administered
                                                                    x
                 ORDER (I) AUTHORIZING THE SALE
             OF SUBSTANTIALLY ALL OF THE DEBTORS’
           ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
      ENCUMBRANCES, AND OTHER INTERESTS, (II) AUTHORIZING
     THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY
CONTRACTS AND UNEXPIRED LEASES, AND (III) GRANTING RELATED RELIEF

                    Upon the motion [Docket No. 127] (the “Motion”) of BarFly Ventures, LLC and

its affiliated debtors and debtors-in-possession (collectively, the “Debtors”), for entry of an order

(this “Order”) pursuant to sections 105(a), 363, and 365 of Title 11 of the United States Code

(the “Bankruptcy Code”) and rules 2002, 6004, and 6006 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) (i) approving the sale of the Debtors’ assets free and clear of

liens, claims, interests and encumbrances, (ii) authorizing assumption and assignment of certain

executory contracts and unexpired leases; and (iii) granting related relief; and the Court having

entered a prior order, dated July 22, 2020 [Docket No. 184] (the “Bid Procedures Order”),

approving bidding procedures for the Debtors’ assets (the “Bid Procedures”) and granting certain

1
      The Debtors and the last four digits of their federal employment identification number are: Barfly Ventures, LLC
    (8379); 9 Volt, LLC (d/b/a HopCat) (1129); 50 Amp Fuse, LLC (d/b/a Stella’s Lounge) (3684); GRBC Holdings,
    LLC (d/b/a Grand Rapids Brewing Company) (2130); E L Brewpub, LLC (d/b/a HopCat East Lansing) (5334);
    HopCat-Ann Arbor, LLC (5229); HopCat-Chicago, LLC (7552); HopCat-Concessions, LLC (2597);
    HopCat--Detroit, LLC (8519); HopCat-GR Beltline, LLC (9149); HopCat-Holland, LLC (7132);
    HopCat--Indianapolis, LLC (d/b/a HopCat-Broad Ripple) (7970); HopCat-Kalamazoo, LLC (8992); HopCat--Kansas
    City, LLC (d/b/a HopCat,-KC, LLC and Tikicat) (6242); HopCat-Lexington, LLC (6748); HopCat-Lincoln, LLC
    (2999); HopCat-Louisville, LLC (0252); HopCat-Madison, LLC (9108); HopCat--Minneapolis, LLC (8622);
    HopCat-Port St. Lucie, LLC (0616); HopCat-Royal Oak, LLC (1935); HopCat-St. Louis, LLC (6994); Luck of the
    Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant Saloon) (4255).




DOCS_SF:104202.11
             Case:20-01947-jwb            Doc #:358 Filed: 10/12/2020               Page 61 of 108




related relief; and Project BarFly LLC (together with its permitted successors, designees, and

assigns, “Buyer”) having submitted a bid, which bid was the Successful Bid for substantially all

of the Debtors’ assets; and the Court having jurisdiction to consider the Motion pursuant to 28

U.S.C. §§ 157 and 1334; and venue of these chapter 11 cases and the Motion in this district being

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core proceeding pursuant

to 28 U.S.C. § 157(b); and the Court having found that proper and adequate notice of the Motion

and the relief requested therein has been provided in accordance with the Bankruptcy Rules, and

that, except as otherwise ordered herein, no other or further notice is necessary; and any

objections (if any) to the Motion having been withdrawn or overruled on the merits; and a

hearing on the Motion (the “Sale Hearing”) having been held to consider the relief requested in

the Motion and to review and consider (i) the Motion and the exhibits thereto, (ii) the Asset

Purchase Agreement, dated as of July 9, 2020, by and among the Debtors and Buyer, a copy of

which is attached hereto as Exhibit B (together with any schedules and exhibits thereto, and as

amended, restated, supplemented, or otherwise modified from time to time, the “Purchase

Agreement”)2 whereby the Debtors have agreed, among other things, to sell the Purchased Assets

(as defined belowin the Asset Purchase Agreement as modified herein) to Buyer on the terms and

conditions set forth in the Purchase Agreement (collectively, the “Sale Transaction”), (iii) the

Response of CIP Administrative, LLC, In Its Capacity as Administrative Agent for the

Prepetition Lenders, to Objections to Sale Motion [Docket No. 333], and (iv) the declarations of

Robert S. Hersch and Ned Lidvall in support of the Motion, and upon the record of the Sale

Hearing and all of the proceedings had before the Court; and the Court having found and

determined that the relief sought in the Motion is in the best interests of the Debtors, their estates,

2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Purchase
                Agreement or, if not defined in the Purchase Agreement, the meanings ascribed to them in the
                Motion.

                                                        - 2-
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020          Page 62 of 108




their creditors and all other parties-in-interest; and that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein; and upon the full record of the Sale

Hearing and other pleadings and proceedings in these chapter 11 cases, including the Motion;

and after due deliberation and sufficient cause appearing therefor,

        THE COURT HEREBY FINDS, DETERMINES, AND CONCLUDES THAT:

                    A.   Fed. R. Bankr. P. 7052. The findings and conclusions set forth herein

constitute the Court’s findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052,

made applicable to this proceeding pursuant to rule 9014 of the Bankruptcy Rules, and shall take

immediate effect upon execution hereof. To the extent that any of the following findings of fact

constitute conclusions of law, they are adopted as such. To the extent any of the following

conclusions of law constitute findings of fact, they are adopted as such. The Court’s findings

shall also include any oral findings of fact and conclusions of law made by this Court during or at

the conclusion of the Sale Hearing.

                    B.   Jurisdiction and Venue. The Court has jurisdiction to consider and decide

the Motion pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a core proceeding pursuant to

28 U.S.C. § 157(b). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                    C.   Final Order. This Order constitutes a final and appealable order as set

forth in 28 U.S.C. § 158(a). The Debtors have demonstrated compelling circumstances and a

good, sufficient, and sound business purpose and justification for the immediate approval and

consummation of the Sale Transaction as contemplated by the Purchase Agreement. In the

absence of a stay pending appeal, Buyer, being a good faith purchaser under section 363(m) of

the Bankruptcy Code and entitled to its protections, may close the sale contemplated by the

Purchase Agreement at any time after the entry of this Order and shall not be subject to the stay

provided by rules 6004(h) or 6006(d) of the Bankruptcy Rules.

                                                 - 3-
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020         Page 63 of 108




                    D.   Statutory and Rule Predicates. The statutory and other legal predicates for

the relief sought in the Motion are sections 105(a), 363, and 365 of the Bankruptcy Code and

rules 2002, 6004, and 6006 of the Bankruptcy Rules.

                    E.   Opportunity to Object. A fair and reasonable opportunity to object or be

heard regarding the relief granted by this Order, including but not limited to, the assumption and

assignment of the Assumed Contracts and the Cure Costs (each as defined below), has been

afforded to all interested persons and entities, including, but not limited to, the Notice Parties (as

defined in the Motion).

                    F.   Sound Business Purpose. The Debtors have demonstrated that their entry

into the Purchase Agreement and related or ancillary agreements thereto or contemplated thereby

(collectively, the “Ancillary Agreements”) is supported by good, sufficient, and sound business

reasons.    A sale of the Purchased Assets and assumption of the Assumed Liabilities will

maximize the value of the Debtors’ estates, ifis fair and equitable, and represents a reasonable

exercise of the Debtors’ sound business judgment. The Debtors determined that the Purchase

Agreement constitutes the highest or otherwise best offer for the Purchased Assets and pursuant

to the terms and conditions of the Purchase Agreement, the Debtors have agreed to transfer to

Buyer all of the Debtors’ right, title, and interest in and to, and Buyer has agreed to assume

certain specified Assumed Liabilities that are not Excluded Liabilities related to, the Purchased

Assets free and clear of all Liens (as defined below) and, if and to the extent requested by Buyer,

to assume and assign the Assumed Contracts (collectively, the “Assumed Contracts”) to Buyer

subject to the terms and conditions of the Purchase Agreement and this Order, and such

determination is a valid and sound exercise of the Debtors’ business judgment.




                                                - 4-
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020         Page 64 of 108




                    G.   Compliance with Bid Procedures. The Bid Procedures (as approved by the

Bid Procedures Order) were substantively and procedurally fair to all parties, were the result of

arm’s length negotiations, and provided a full, fair, and reasonable opportunity for any party to

make an offer to purchase the Purchased Assets. The Debtors, Buyer, and their respective

counsel and other advisors have complied with the Bid Procedures Order and the Bid Procedures

in all respects except as properly waived by the Debtors in the exercise of their fiduciary duties in

accordance with the Bid Procedures. Buyer submitted a Qualified Bid pursuant to the Bid

Procedures approved by the Court and was the Successful Bidder for the Purchased Assets in

accordance with the Bid Procedures Order and the Bid Procedures.

                    H.   Marketing Process. The Debtors and their advisors thoroughly and fairly

marketed the Purchased Assets and conducted the related sale process in good faith and in a fair

and open manner, soliciting offers to acquire the Purchased Assets from a wide variety of parties.

The sale process and the Bid Procedures were non-collusive, duly noticed, and provided a full,

fair, reasonable, and adequate opportunity for any person or entity that expressed an interest in

acquiring the Purchased Assets, or who the Debtors believed may have an interest in acquiring,

and be permitted and able to acquire, the Purchased Assets, to conduct due diligence, make an

offer to purchase the Debtors’ assets, including, without limitation, the Purchased Assets, and

submit higher and otherwise better offers for the Purchased Assets than Buyer’s Successful Bid.

The Debtors and Buyer have negotiated and undertaken their roles leading to the Sale

Transaction and entry into the Purchase Agreement in a diligent, non-collusive, fair, reasonable,

and good faith manner.        The sale process conducted by the Debtors pursuant to the Bid

Procedures Order and the Bid Procedures resulted in the highest or otherwise best offer for the

Purchased Assets for the Debtors and their estates, was in the best interests of the Debtors, their



                                                - 5-
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020        Page 65 of 108




creditors, and all parties in interest, and any other transaction would not have yielded as favorable

a result. There is no legal or equitable reason to delay consummation of the transactions

contemplated by the Purchase Agreement, including, without limitation, the Sale Transaction.

                    I.   No Other Qualified Bids/Cancellation of Auction. The Debtors did not

receive any other Qualified Bids pursuant to the Bid Procedures and, consequently, in accordance

with Article III.F of the Bid Procedures, no Auction was held and the Buyer was named the

Successful Bidder upon the expiration of the Bid Deadline.

                    J.   Good Faith. Buyer is not an “insider” or “affiliate” of any of the Debtors

as those terms are defined in section 101 of the Bankruptcy Code. The Purchase Agreement and

the Ancillary Agreements, and each of the transactions contemplated therein, were negotiated,

proposed, and entered into by the Debtors and Buyer without collusion or fraud, in good faith,

and from arm’s-length bargaining positions and are substantively and procedurally fair to all

parties. Neither the Debtors nor Buyer has engaged in any conduct that would cause or permit

any part of the Purchase Agreement or the Ancillary Agreements to be avoidable under section

363(n) of the Bankruptcy Code. Buyer is purchasing the Purchased Assets, in accordance with

the Purchase Agreement, in good faith and is a good-faith purchaser under section 363(m) of the

Bankruptcy Code and, as such, is entitled to all of the protections afforded thereby. In particular,

(i) Buyer recognized that the Debtors were free to deal with any other party interested in

purchasing the Purchased Assets; (ii) Buyer in no way induced or caused the chapter 11 filing by

the Debtors; (iii) Buyer has not violated section 363(n) of the Bankruptcy Code by any action or

inaction; (iv) no common identity of directors, managers, officers, or controlling stockholders

exists between Buyer, on the one hand, and any of the Debtors, on the other hand; (v) Buyer

complied with the Bid Procedures and all provisions of the Bid Procedures Order; and (vi) all



                                                - 6-
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020          Page 66 of 108




payments to be made, and all other material agreements or arrangements entered into or to be

entered into by Buyer in connection with the Sale Transaction, including the Ancillary

Agreements, have been disclosed. The Purchase Agreement was not entered into for the purpose

of hindering, delaying, or defrauding creditors under the Bankruptcy Code or under laws of the

United States, any state, territory, or possession, or the District of Columbia.

                    K.   Fair Consideration/Reasonably Equivalent Value.             The aggregate

consideration from Buyer for the Purchased Assets as set forth in the Purchase Agreement: (i) as

such consideration relates to the Purchased Assets, constitutes fair consideration and fair value

under the Bankruptcy Code, the Uniform Fraudulent Transfer Act, the Uniform Fraudulent

Conveyance Act, and other similar laws of the United States, any state, territory, possession, or

the District of Columbia, and any foreign jurisdiction; (ii) is the highest or otherwise best value

obtainable for the Purchased Assets; (iii) will provide a greater recovery to creditors than would

be provided by any other available alternative; and (iv) as such consideration relates to the

Purchased Assets, constitutes reasonably equivalent value (as that term is defined in each of the

Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act, Uniform Voidable

Transaction Act, and section 548 of the Bankruptcy Code). Neither the Debtors nor Buyer

entered into or has agreed to enter into the Purchase Agreement or the Ancillary Agreements with

any fraudulent or otherwise improper purpose, including, without limitation, the purpose of

hindering, delaying, or defrauding any creditors of the Debtors.

                    L.   No Successor or Other Derivative Liability. Except as otherwise set forth

herein or in the Purchase Agreement, upon Closing, and to the greatest extent permitted by

applicable law, Buyer shall not have any liability (including, but not limited to, any successor

liability) or other obligation of any of the Debtors arising under or related to the sale and transfer



                                                - 7-
DOCS_SF:104202.11
           Case:20-01947-jwb       Doc #:358 Filed: 10/12/2020          Page 67 of 108




of the Purchased Assets to Buyer or with respect to the Excluded Liabilities, provided that, upon

Closing, Buyer shall remain liable for the Assumed Liabilities. Without limiting the generality of

the foregoing, and except as otherwise expressly provided herein or in the Purchase Agreement,

Buyer shall not be liable for any claims against the Debtors or any of their predecessors, affiliates

employees, agents, or advisors, and Buyer shall have no successor or vicarious liabilities of any

kind or character, including, without limitation, under any theory of antitrust, environmental,

successor, or transfer liability, labor law, de facto merger, mere continuation, or substantial

continuity, whether known or unknown as of Closing, now existing, or hereafter arising, whether

fixed or contingent, whether asserted or unasserted, whether legal or equitable, whether

liquidated or unliquidated, including, without limitation, liabilities on account of warranties,

intercompany loans, receivables among the Debtors and their affiliates, environmental liabilities,

and any taxes arising, accruing, or payable under, out of, in connection with, or in any way

relating to the operation of any of the Purchased Assets prior to the Closing. For the avoidance

of doubt, the Debtors are deemed to release and forever discharge Buyer and any of its affiliates,

successors, and assigns from any and all claims, causes of action, obligations, liabilities,

demands, losses, costs, and expenses of any kind, character, or nature whatsoever, known or

unknown, fixed or contingent, relating to the Sale Transaction or operation of the Purchased

Assets prior to Closing, except for the Assumed Liabilities. Buyer is not, and the consummation

of the Sale Transaction will not render Buyer, a mere continuation, and Buyer is not holding

itself out as a mere continuation, of any of the Debtors or their respective estates, enterprise, or

operations, and there is no continuity or common identity between Buyer and the Debtors.

Accordingly, the Sale Transaction does not amount to a consolidation, merger, or de facto merger

of Buyer with or into any of the Debtors or their estates and Buyer is not, and shall not be



                                                - 8-
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020         Page 68 of 108




deemed to be, a successor to any of the Debtors or their estates as a result of the consummation

of the Sale Transaction. Buyer would not have entered into the Purchase Agreement if the

transfer of the Purchased Assets were not made free and clear of any successor liability to Buyer.

                    M.   Sale Notice. As shown by the certificates of service filed with the Court

and the representations or proffers made on the record at the Sale Hearing, (i) the Debtors have

provided proper, timely, adequate, and sufficient notice of and sufficient opportunity to object to

the Motion and the relief requested therein (including the Debtors’ requested findings with

respect to successor liability), the bidding process (including, without limitation, the deadline for

submitting Qualified Bids), the Sale Hearing, the Sale Transaction, and the proposed entry of this

Order in compliance with all applicable requirements of the Bankruptcy Code and the

Bankruptcy Rules, (ii) such notice was adequate and sufficient under the circumstances of these

chapter 11 cases and complied with the Bid Procedures Order and other orders of the Court, and

(iii) no other or further notice is required.

                    N.   Title to Assets. The Purchased Assets constitute property of the Debtors’

estates and title or rights thereto is currently vested in the Debtors’ estates within the meaning of

section 541(a) of the Bankruptcy Code.

                    O.   Satisfaction of Section 363(f) Standards. The conditions of section 363(f)

of the Bankruptcy Code, including 363(f)(2), have been satisfied in full. Upon entry of this

Order, the Debtors are authorized to transfer all of their right, title, and interest in and to the

Purchased Assets free and clear of any and all claims (as such term is defined by section 101(5)

of the Bankruptcy Code), liabilities (including any liability that results from, relates to, or arises

out of tort or any other product liability claim), interests, and matters of any kind and nature

whatsoever, including, without limitation, hypothecations, mortgages, security deeds, deeds of



                                                - 9-
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020          Page 69 of 108




trust, debts, levies, indentures, restrictions (whether on voting, sale, transfer, disposition, or

otherwise), leases, licenses, easements, rights of way, encroachments, instruments, preferences,

priorities, security agreements, conditional sales agreements, title retention contracts and other

title retention agreements and other similar impositions, options, judgments, offsets, rights of

recovery, rights of preemption, rights of setoff, profit sharing interest, other third party rights,

other impositions, or restrictions on transfer or use of any nature whatsoever, claims for

reimbursement, claims for contribution, claims for indemnity, claims for exoneration, products

liability claims, alter-ego claims, successor-in-interest claims, successor liability claims,

substantial continuation claims, withdrawal liability claims, environmental claims, claims under

or relating to any employee benefit plan, ERISA affiliate plan, or ERISA (including any pension

or retirement plan) or any claims under state or other laws of similar effect, tax claims (including

claims for any and all foreign, federal, state, and local taxes, including, but not limited to, sales,

income, use, or any other type of tax), escheatment claims, reclamation claims, obligations,

liabilities, demands, and guaranties, and other encumbrances relating to, accruing, or arising any

time prior to the Closing Date, duties, responsibilities, obligations, demands, commitments,

assessments, costs, expense, losses, expenditures, charges, fees, penalties, fines, contributions,

premiums, encumbrances, guaranties, pledges, consensual or nonconsensual liens (including any

liens as that term is defined in section 101(37) of the Bankruptcy Code), statutory liens, real or

personal property liens, mechanics’ liens, materialman’s liens, warehouseman’s liens, tax liens,

security interests, charges, options (including in favor of third parties), rights, contractual

commitments, restrictions, restrictive covenants, covenants not to compete, rights to refunds,

escheat obligations, rights of first refusal, rights and restrictions of any kind or nature whatsoever

against the Debtors or the Purchased Assets, including, without limitation, any debts arising



                                                - 10 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020          Page 70 of 108




under or out of, in connection with, or in any way relating to, any acts or omissions, obligations,

demands, guaranties, rights, contractual commitments, restrictions, product liability claims,

environmental liabilities, employee pension or benefit plan claims, multiemployer benefit plan

claims, retiree healthcare or life insurance claims, or claims for taxes of or against the Debtors,

and any derivative, vicarious, transferee, or successor liability claims, rights or causes of action

(whether in law or in equity, under any law, statute, rule, or regulation of the United States, any

state, territory, or possession, or the District of Columbia), whether arising prior to or subsequent

to the commencement of these chapter 11 cases, whether known or unknown, choate or inchoate,

filed or unfiled, scheduled or unscheduled, noticed or unnoticed, recorded or unrecorded, secured

or unsecured, perfected or unperfected, allowed or disallowed, contingent or non-contingent,

liquidated or unliquidated, matured or unmatured, material or non-material, disputed or

undisputed, and whether imposed by agreement, understanding, law, equity, or otherwise,

including claims otherwise arising under doctrines of successor liability, successor-in-interest

liability, continuation liability, or substantial continuation liability, including, without limitation,

that the Buyer is in any way a successor, successor-in-interest, continuation, or substantial

continuation of the Debtors or their business, arising under or out of, in connection with, or in

any way related to the Debtors, the Debtors’ interests in the Purchased Assets, the operation of

the Debtors’ respective businesses at or before the effective time of the Closing pursuant to the

Purchase Agreement, or the transfer of the Debtors’ interests in the Purchased Assets to Buyer,

and all Excluded Liabilities (collectively, excluding any Assumed Liabilities and Permitted

Liens, “Liens”), as provided for in the Purchase Agreement because in each case one or more of

the standards set forth in section 363(f)(1)–(5) of the Bankruptcy Code has been satisfied.

Except as otherwise expressly provided in the Purchase Agreement or this Order, such Liens



                                                 - 11 -
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020           Page 71 of 108




shall attach to the proceeds allocated to the Debtors in the order of their priority, with the same

validity, force and effect which they have against the Purchased Assets immediately prior to the

Closing, subject to any claims and defenses the Debtors may possess with respect to such Liens.

Those holders of Liens against the Purchased Assets who did not object or who withdrew their

objections to the Purchase Agreement or the Motion are deemed to be bound by the terms of this

Order as the transactions contemplated by the Purchase Agreement pursuant to section 363(f)(2).

In addition, one or more of the other subsections of sections 363(f) of the Bankruptcy Code apply

and, therefore, holders of Liens with an interest in the Purchased Assets owned by the Debtors

are found to be adequately protected by having their Liens that constitute interests in such

Purchased Assets attach solely to the proceeds of the Sale Transaction in the same order of

priority and with the same extent, validity, force, and effect that such holders had prior to the

Sale Transaction and by providing for the distributions provided for herein. All persons having

Liens of any kind or nature whatsoever against the Debtors or the Purchased Assets owned by the

Debtors shall be forever barred from pursuing or asserting such Liens against Buyer or any of

their respective assets, property, affiliates, successors, assigns, or the Purchased Assets.

                    P.   Buyer would not have entered into the Purchase Agreement and would not

consummate the transactions contemplated thereby, thus adversely affecting the Debtors and

their estates and creditors, if (i) the transfer of the Purchased Assets was not free and clear of all

Liens and other interests, including, without limitation, any rights or Liens based on any

successor or transferee liability, as set forth in the Purchase Agreement and this Order, or (ii) the

Buyer would, or in the future could, be liable for any such Liens, including, without limitation,

any rights or Liens based on any successor or transferee liability. Buyer will not consummate the

Sale Transaction unless this Court expressly orders that none of Buyer, its affiliates, their present



                                                - 12 -
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020        Page 72 of 108




or contemplated members or shareholders, or the Purchased Assets will have any liability

whatsoever with respect to, or be required to satisfy in any manner, whether at law or equity, or

by payment, setoff, or otherwise, directly or indirectly, any Liens and other interests, including

rights or claims based on any successor or transferee liability, other than expressly provided

herein or in the Purchase Agreement. The total consideration to be provided under the Purchase

Agreement reflects Buyer’s reliance on this Order to provide, pursuant to sections 105(a) and

363(f) and (m) of the Bankruptcy Code, that, upon the Closing, Buyer has title to, interest in, and

possession of the Purchased Assets free and clear of all Liens. A sale of the Purchased Assets,

other than one free and clear of all Liens, would yield substantially less value for the Debtors’

estates.

                    Q.   Assumption and Assignment of the Assumed Contracts. The assumption

and assignment of the Assumed Contracts are integral to the Purchase Agreement, are in the best

interests of the Debtors and their estates, and represent the reasonable exercise of the Debtors’

sound business judgment.        Specifically, the assumption and assignment of the Assumed

Contracts (i) are necessary to sell the Purchased Assets to Buyer, (ii) allow the Debtors to sell

their business to Buyer as a going concern, (iii) allow the Debtors to maximize the value of the

Purchased Assets, including the Assumed Contracts, (iv) limit the losses suffered by the

counterparties to the Assumed Contracts, and (v) maximize the recoveries to other creditors of

the Debtors by limiting the amount of claims against the Debtors’ estates by avoiding the

rejection of the Assumed Contracts.

                    R.   With respect to each of the Assumed Contracts, the Debtors and Buyer

have met all requirements of section 365(b) of the Bankruptcy Code. Further, in compliance

with the requirements of sections 365(b) and 365(f) of the Bankruptcy Code, Buyer has provided



                                              - 13 -
DOCS_SF:104202.11
           Case:20-01947-jwb       Doc #:358 Filed: 10/12/2020       Page 73 of 108




adequate assurance of future performance under the Assumed Contracts to the extent that any

such assurance is required and not waived by the counterparties to such Assumed Contracts.

Accordingly, the Assumed Contracts may be assumed by the Debtors and assigned to Buyer as

provided for in the Purchase Agreement and this Order.

                    S.   The authority hereunder for the Debtors to assume and assign any

Assumed Contract to Buyer includes the authority to assume and assign an Assumed Contract, as

amended (including amendments entered into by the Debtors in accordance with paragraph 25 of

this Order).

                    T.   The assignments by the applicable Debtors of each of the Assumed

Contracts are made in good faith under sections 363(b) and (m) of the Bankruptcy Code.

                    U.   Cure Notice; Adequate Assurance of Future Performance. As shown by

the certificates of service filed with the Court, the Debtors have served upon each non-Debtor

counterparty to certain executory contracts and unexpired leases (each, a “Counterparty”), prior

to the Sale Hearing, a notice, dated July 24, 2020 [Docket No. 198] (the “Notice of Potential

Assignment”), (i) that Debtors may wish to assume and assign the contracts or leases identified

on the Notice of Potential Assignment (the “Contracts and Leases”) to the Buyer pursuant to

section 365 of the Bankruptcy Code and (ii) of the related proposed cure costs due under section

365(b) of the Bankruptcy Code (the “Cure Costs”) with respect to the Contracts and Leases. In

accordance with the Bidding Procedures Order, if the Debtors or Buyer identify additional

executory contracts or unexpired leases that might be assumed by the Debtors and assigned to the

Buyer or that were not set forth in the original Notice of Assumption and Assignment, the

Debtors will promptly file with the Court and send a Supplemental Notice of Assumption and

Assignment to the applicable Counterparties to such additional executory contracts and



                                             - 14 -
DOCS_SF:104202.11
           Case:20-01947-jwb       Doc #:358 Filed: 10/12/2020      Page 74 of 108




unexpired leases. The service of the Notice of Potential Assignment was good, sufficient, and

appropriate under the circumstances of these chapter 11 cases and complied with the Bid

Procedures Order and other orders of the Court, and no other or further notice is required with

respect to the Cure Costs for the assumption and assignment of the Contracts and Leases,

including without limitation Buyer’s provision of adequate assurance of future performance. All

Counterparties to the Contracts and Leases have had a reasonable opportunity to object to the

Cure Costs listed on the Notice of Potential Assignment in accordance with the Bid Procedures

Order and to the assumption and assignment of such Assumed Contract to Buyer in accordance

with the Bid Procedures Order. Accordingly, all Counterparties to Contracts and Leases who did

not object or who withdrew their objections to the Cure Costs listed on the Notice of Potential

Assignment prior to the Sale Hearing are deemed to have consented to such Cure Costs, and all

Counterparties to Assumed Contracts who did not file an objection to the assumption by the

Debtors of such Assumed Contracts and the assignment thereof to Buyer prior to the Sale

Hearing are deemed to have consented to the assumption of such Assumed Contract and the

assignment thereof to Buyer.

                    V.   All Counterparties to the Assumed Contracts have had a reasonable

opportunity to object to Buyer’s ability to provide adequate assurance of future performance as

contemplated under sections 365(b)(l)(C) and 365(f)(1) of the Bankruptcy Code, in accordance

with the Bid Procedures Order. Accordingly, all Counterparties to Assumed Contracts who did

not object or who withdrew their objections to Buyer’s ability to provide adequate assurance of

future performance under the Assumed Contracts are bound by the terms of this Order as to the

assumption of such Assumed Contract and the assignment thereof to Buyer. The filed objections




                                             - 15 -
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020        Page 75 of 108




at [Docket Nos. 216, 217, 220, 223, 225, 227, 228, 259, 268, 288, 290, and 300] relating to the

Assumed Contracts were adjourned or resolved as set forth on the record at the Sale Hearing.

                    W.   Liquor Licenses. Alcohol sales are currently conducted in connection with

the Purchased Assets pursuant to the Liquor Licenses. The sale of alcohol is an important

component of the Debtors’ business and the continued sale of alcohol in connection with the

Purchased Assets is essential to the Buyer’s consummation of the Sale Transaction. It is in the

best interests of the estates and all other parties in interest for such alcohol sales to continue

uninterrupted during the transition of ownership from the Debtors to the Buyer after the Closing.

                    X.   Record Retention. Pursuant to the terms of and subject to the limitations

and conditions in the Purchase Agreement, following the Closing the Debtors, their successors

and assigns, and any trustee in bankruptcy will have reasonable access to the Debtors’ books and

records for any reasonable business purpose or compliance with any obligation, including

administration of these chapter 11 cases. To the extent that the Debtors maintain books and

records electronically, an electronic copy of such books and records shall remain with the

Debtors after the Closing.

                    Y.   Corporate Power and Authority.       The Debtors and their applicable

affiliates have (i) full corporate or similar power and authority to execute and deliver the

Purchase Agreement, the Ancillary Agreements, and all other documents contemplated thereby,

(ii) all corporate or similar authority necessary to consummate the transactions contemplated by

the Purchase Agreement and the Ancillary Agreements, and (iii) taken all corporate actions

necessary to authorize and approve the Purchase Agreement, the Ancillary Agreements, and the

consummation of the transactions contemplated thereby. No consents or approvals, other than




                                               - 16 -
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020         Page 76 of 108




those expressly provided for in the Purchase Agreement, are required for the Debtors to execute

the Purchase Agreement or consummate the transactions contemplated thereby.

                    Z.    Valid and Binding Contract; Validity of Transfer.       The Purchase

Agreement is a valid and binding contract between the Debtors and Buyer and shall be

enforceable pursuant to its terms. The Purchase Agreement, the Ancillary Agreements, and the

Sale Transaction itself, and the consummation thereof shall be specifically enforceable against

and binding upon (without posting any bond) the Debtors and any chapter 11 trustee appointed in

these chapter 11 cases, or in the event these chapter 11 cases are converted to a case under

chapter 7 of the Bankruptcy Code, a chapter 7 trustee, and shall not be subject to rejection or

avoidance by the foregoing parties or any other Person.         The consummation of the Sale

Transaction is legal, valid, and properly authorized under all applicable provisions of the

Bankruptcy Code, including, without limitation, sections 105(a), 363(b), 363(f), 363(m), 365(b),

and 365(f) of the Bankruptcy Code and all of the applicable requirements of such sections have

been complied with in respect of the Sale Transaction.

                    AA.   No Sub Rosa Plan. The Sale Transaction, the Purchase Agreement, and

the other transactions contemplated thereby do not constitute a sub rosa chapter 11 plan. The

Sale Transaction neither impermissibly restructures the rights of the Debtors’ creditors nor

impermissibly dictates a liquidating chapter 11 plan for the Debtors.

                    BB.   Waiver of Bankruptcy Rules 6004(h) and 6006(d). The Debtors have

demonstrated (i) good, sufficient, and sound business purposes and justifications for approving

the Purchase Agreement and the Sale Transaction and (ii) compelling circumstances for the

immediate approval and consummation of the transactions contemplated by the Purchase

Agreement and all other Ancillary Agreements for the Sale Transaction outside of (a) the



                                               - 17 -
DOCS_SF:104202.11
            Case:20-01947-jwb           Doc #:358 Filed: 10/12/2020      Page 77 of 108




ordinary course of business, pursuant to section 363(b) of the Bankruptcy Code, and (b) a chapter

11 plan, in that, among other things, the immediate consummation of the Sale Transaction to the

Buyer and all transactions contemplated thereby are necessary and appropriate to maximize the

value of the Debtors’ estates. Accordingly, there is cause to waive the stay contemplated by

Bankruptcy Rules 6004 and 6006 with respect to the transactions contemplated by this Order. To

maximize the value of the Purchased Assets and preserve the viability of the Business, it is

essential that the Sale Transaction occur within the time constraints set forth in the Purchase

Agreement. Time is of the essence in consummating the Sale Transaction. Given all of the

circumstances of the chapter 11 cases and the adequacy and fair value of the Purchase Price

under the Purchase Agreement, the proposed Sale Transaction constitutes a reasonable and sound

exercise of the Debtors’ business judgment that should be, and hereby is, approved.

                    CC.   Personally Identifiable Information.   The appointment of a consumer

privacy ombudsman pursuant to section 363(b)(1) or section 332 of the Bankruptcy Code is not

required with respect to the relief requested in the Motion.

                    DD.   Legal and Factual Bases. The legal and factual bases set forth in the

Motion establish just cause for the relief granted herein. Entry of this Order is in the best

interests of the Debtors and their estates, creditors, interest holders and all other parties in

interest.

        IT IS HEREBY ORDERED THAT:

                    1.    To the extent not already approved pursuant to the Bid Procedures Order,

the Motion is GRANTED as set forth herein.

                    2.    Objections.    All objections, reservations of rights regarding, or other

responses to the Motion or the relief requested therein, the Purchase Agreement, all other

Ancillary Agreements, the Sale Transaction, the entry of this Order, or the relief granted herein,

                                                 - 18 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020        Page 78 of 108




including, without limitation, any objections to Cure Costs or relating to the cure of any defaults

under any of the Assumed Contracts or the assumption and assignment of any of the Assumed

Contracts to the Buyer by the Debtors, including with respect to Buyer’s ability to provide

adequate assurance of future performance under the Assumed Contracts, solely as it relates to the

relief granted by this Order that have not been adjourned, withdrawn, or resolved are overruled in

all respects on the merits with prejudice, except as otherwise set forth herein. All persons and

entities that failed to object timely to the Motion are deemed to have consented to the relief

granted herein for all purposes.

                    3.   Notice. Notice of the Motion, the Sale Hearing, the Purchase Agreement,

the assumption and assignment of the Assumed Contracts, and the relief granted in this Order

was fair, sufficient, proper, and equitable under the circumstances, and complied in all respects

with sections 102(1), 363, and 365 of the Bankruptcy Code, rules 2002, 6004, and 6006 of the

Bankruptcy Rules, the Bid Procedures Order, and other orders of the Court.

                    4.   Fair Purchase Price. The consideration to be provided by Buyer under the

Purchase Agreement is fair and reasonable and constitutes (a) reasonably equivalent value under

the Bankruptcy Code, the Uniform Voidable Transactions Act, and the Uniform Fraudulent

Transfer Act, (b) fair consideration under the Uniform Fraudulent Conveyance Act, (c)

reasonably equivalent value, fair consideration, and fair value under any other applicable laws of

the United States, any state, territory or possession, or the District of Columbia, and (d) valid and

valuable consideration for the release of any potential Liens pursuant to this Order, which release

shall be deemed to have been given in favor of Buyer by all holders of Liens of any kind

whatsoever against all of the Debtors and all of the Purchased Assets, other than as otherwise

expressly set forth in this Order.



                                               - 19 -
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020         Page 79 of 108




                    5.   Approval of the Purchase Agreement. The Purchase Agreement and the

Sale Transaction, including, without limitation, all transactions contemplated therein or in

connection therewith (including the Ancillary Agreements) and all of the terms and conditions

thereof, are hereby approved in their entirety, subject to the terms and conditions of this Order.

The failure specifically to include or make reference to any particular provisions of the Purchase

Agreement in this Order shall not impair the effectiveness of such provision, it being the intent of

the Court that the Purchase Agreement, the Sale Transaction, and the transactions contemplated

therein or in connection therewith (including the Ancillary Agreements) are authorized and

approved in their entirety.

                    6.   Consummation of Sale Transaction. Pursuant to sections 105, 363, and

365 of the Bankruptcy Code, the Debtors are authorized and directed to perform their obligations

under and comply with the terms of the Purchase Agreement and the Ancillary Agreements,

pursuant to and in accordance with the terms and conditions of the Purchase Agreement, the

Ancillary Agreements, and this Order.        The Debtors, as well as their affiliates, officers,

employees, and agents, are authorized to execute and deliver, and empowered to perform under,

consummate, and implement, the Purchase Agreement, together with all additional instruments

and documents that may be reasonably necessary or desirable to implement the Purchase

Agreement, the Ancillary Agreements, and the Sale Transaction, including the Ancillary

Agreements, and to take all further actions and execute such other documents as may be (a)

necessary or appropriate to the performance of the obligations contemplated by the Purchase

Agreement, including, without limitation, making any regulatory filings necessary or advisable in

connection with such transfer, and (b) as may be requested by Buyer to implement the Purchase

Agreement and the Sale Transaction, in accordance with the terms thereof, without further order



                                               - 20 -
DOCS_SF:104202.11
           Case:20-01947-jwb       Doc #:358 Filed: 10/12/2020          Page 80 of 108




of the Court. The Buyer shall not be required to seek or obtain relief from the automatic stay

under section 362 of the Bankruptcy Code to enforce any of its remedies under the Purchase

Agreement, Ancillary Agreements, or any other Sale Transaction-related document.                The

automatic stay imposed by section 362 of the Bankruptcy Code is modified solely to the extent

necessary to implement the preceding sentence and the other provisions of this Order; provided,

however, that the Court shall retain exclusive jurisdiction over any and all disputes with respect

thereto.

                    7.   Direction to Government Agencies.      To the greatest extent allowable

under applicable Law, each and every federal, state, local, or foreign government or

governmental or regulatory authority, agency, board, bureau, commission, court, department, or

other Governmental Entity is hereby directed to accept any and all documents and instruments

necessary and appropriate to consummate the Sale Transaction and the other transactions

contemplated by the Purchase Agreement and the Ancillary Agreements and approved by this

Order.

                    8.   Transfer of Assets Free and Clear and Injunction. Upon the Closing,

pursuant to sections 105(a), 363(b), 365(b), and 363(f) of the Bankruptcy Code, the transfer of

the Purchased Assets to Buyer shall (a) constitute a legal, valid, and effective transfer of all of

Debtors’ right, title, and interest in and to such Purchased Assets subject to and in accordance

with the Purchase Agreement, (b) vest Buyer with all of the Debtors’ right, title, and interest in

and to such Purchased Assets, and (c) be free and clear of all Liens against the Debtors and the

Purchased Assets (including Liens of any Governmental Entity), with such Liens attaching to the

proceeds allocated to the Debtors in the order of their priority, with the same validity, force, and

effect that they had against such Purchased Assets immediately prior to the Closing. All persons



                                               - 21 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020         Page 81 of 108




or entities that are presently, or on or after the Closing may be, in possession of some or all of the

Purchased Assets, are hereby directed to surrender possession of the Purchased Assets to Buyer

or its respective designees on the Closing Date or at such time thereafter as Buyer may request.

                    9.    Notwithstanding anything contained herein or in any other document, in

accordance with the Purchase Agreement, all fee interests, rights-of-way, easements, real

property interests, real rights, licenses, servitudes, permits, privileges, and leases (surface and

subsurface) owned or held by the Debtors, or hereinafter acquired by the Debtors prior to the

Closing, in each case, in connection with the Purchased Assets, constitute real property or a real

property interest, and together with the rights, tenements, appurtenant rights and privileges

related thereto (collectively, the “Real Property Interests”), shall, in accordance with the Purchase

Agreement, be transferred to Buyer, directly or indirectly, at the Closing notwithstanding any

consent rights, anti-assignment provisions, or any other provisions purporting to prohibit or

condition the transfer or assignment of such Real Property Interests contained in such Real

Property Interests, or in any other document, and all such rights, provisions, prohibitions, and

conditions shall be void and of no force and effect with respect to the Sale Transaction.

                    10.   To the extent provided for in the Purchase Agreement, any and all of the

Debtors’ security deposits, or other security held by landlords, lessors, and other counterparties to

the Assumed Contracts are being transferred and assigned to, and shall be the property of, the

Buyer from and after the Closing, which transfer and assignment of security deposits, other

deposits, or security shall satisfy in full the requirements of section 365(l) of the Bankruptcy

Code for all contracts, leases, and licenses assumed and assigned pursuant to this Order or the

Purchase Agreement.




                                                - 22 -
DOCS_SF:104202.11
           Case:20-01947-jwb          Doc #:358 Filed: 10/12/2020        Page 82 of 108




                    11.   Subject to the terms, conditions, and provisions of this Order, all persons

and entities are hereby forever prohibited and barred from taking any action that would adversely

affect or interfere (a) with the ability of the Debtors to sell and transfer the Purchased Assets to

Buyer in accordance with the terms of the Purchase Agreement, the Ancillary Agreements, and

this Order and (b) with the ability of the Buyer to acquire, take possession of, use, and operate the

Purchased Assets in accordance with the terms of the Purchase Agreement, the Ancillary

Agreements, and this Order.         Notwithstanding the foregoing, nothing in this Order or the

Purchase Agreement shall prohibit any party from seeking to enforce or collect any of the

Assumed Liabilities against the Buyer.

                    12.   Except as otherwise provided in the Purchase Agreement or herein, all

Persons (and their respective successors and assigns) including, without limitation, the Debtors,

the Debtors’ estates, all debt security holders, equity security holders, governmental tax and

regulatory authorities, lenders, customers, vendors, employees, former employees, litigation

claimants, trustees, trade creditors, and any other creditors (or agent of any of the foregoing) who

may or do hold Liens (whether legal or equitable, secured or unsecured, matured or unmatured,

contingent or noncontingent, senior or subordinated) against the Debtors or the Purchased Assets

owned by the Debtors arising under or out of, in connection with, or in any way relating to, the

Debtors, the Purchased Assets, the operation of the Purchased Assets by the Debtors prior to the

Closing, or the Sale Transaction, are hereby forever barred, estopped, and permanently enjoined

from asserting or pursuing such Liens against Buyer, its affiliates, successors, assigns, its

property, or the Purchased Assets, including, without limitation, taking any of the following

actions with respect to any Liens: (a) commencing or continuing in any manner any action,

whether at law or in equity, in any judicial, administrative, arbitral, or any other proceeding,



                                                 - 23 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020         Page 83 of 108




against Buyer, its affiliates, successors, assigns, assets (including the Purchased Assets), or

properties; (b) enforcing, attaching, collecting, or recovering in any manner any judgment, award,

decree, or order against Buyer, its affiliates, successors, assigns, assets (including the Purchased

Assets), or properties; (c) creating, perfecting, or enforcing any Lien against Buyer, its affiliates,

any of their respective successors, assigns, assets (including the Purchased Assets), or properties;

(d) asserting a Lien as a setoff, right of subrogation, or recoupment of any kind against any

obligation due against Buyer, its affiliates, or any of their respective successors or assigns; or (e)

commencing or continuing any action in any manner or place that does not comply, or is

inconsistent, with the provisions of this Order or the agreements or actions contemplated or taken

in respect thereof.       No such Person shall assert or pursue against Buyer or its affiliates,

successors, or assigns any such Lien.

                    13.   Licenses and Permits; Liquor Licenses. To the greatest extent allowable

available under applicable Law, (a) the Buyer shall be authorized, as of the Closing Date, to

operate under any license, permit, approval, grant, certificate of occupancy, state food service

license, local occupational license, certificate of need, authorization, accreditation, operating

permit, health inspection permit, registration, plan, or any similar governmental authorization or

approval of the Debtors with respect to the Purchased Assets, including the Liquor Licenses

(collectively, the “Permits”), (b) all such Permits are deemed to have been, and hereby are,

deemed to be transferred to the Buyer as of the Closing Date, and (c) each Governmental Entity

that has issued or granted a Permit to, or for the benefit of, the Sellers shall be deemed to have

consented to the transfer of such Permit to the Buyer as of the Closing Date. To the maximum

extent provided by section 525 of the Bankruptcy Code, no Governmental Entity may revoke or

suspend any Permit sold, transferred, assigned, or conveyed, or deemed to be sold, transferred,



                                                - 24 -
DOCS_SF:104202.11
           Case:20-01947-jwb          Doc #:358 Filed: 10/12/2020         Page 84 of 108




assigned, or conveyed, to the Buyer on account of the filing or pendency of these chapter 11

cases or the consummation of the Sale Transaction. Notwithstanding the foregoing or anything

to the contrary contained in this Order, the Purchase Agreement, or the Ancillary Agreements,

the Debtors and Buyer are not entering into a transition agreement with respect to the Liquor

Licenses (or otherwise) and as of the Closing Date the purchase and sale of alcohol shall be

undertaken solely by the Buyer who will be solely responsible for the purchase and sale of

alcohol related to the Continuing Restaurants.

                    14.   To the extent any Permit necessary for the operation of the Business at the

Continuing Restaurants is not an assumable and assignable executory contract, the Buyer shall

make reasonable efforts to apply for and obtain any such Permit promptly after the Closing Date.

AllTo the greatest extent allowable under applicable law, all existing Permits applicable to the

Continuing Restaurants, including but not limited to the Liquor Licenses, shall remain in place

for the Buyer’s benefit until either new Permits are obtained or existing Permits are transferred in

accordance with applicable administrative procedures and to the extent any of the Continuing

Restaurants are operated under any such Permits after the Closing Date, the Buyer shall fully

indemnify the Debtors, or any successor in interest to the Debtors, including a chapter 11 trustee

or chapter 7 trustee, for any and all costs and liabilities arising thereunder without limitation.

                    15.   With regard to the sale of alcohol at the Continuing Restaurants, pursuant

to the Purchase Agreement, the Debtors and all other parties in interest shall cooperate fully with

and support the Buyer in executing such applications and furnishing such documents as are

necessary for the Buyer to obtain Liquor License Approvals at the Buyer’s sole expense. For the

avoidance of doubt, the Debtors shall have no post-Closing Date obligations to purchase or sell

alcohol under the Liquor Licenses and all such sales shall be conducted by the Buyer, under



                                                 - 25 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020       Page 85 of 108




existing Liquor Licenses to the greatest extent allowable under applicable law. Moreover, except

for violations of Law unrelated to the transfer of ownership of the Purchased Assets occurring

pursuant to the Purchase Agreement and this Sale Order, and to the greatest extent allowable

under applicable law, including, but not limited to, section 525 of the Bankruptcy Code, all law

enforcement and regulatory agencies shall not interrupt the Business conducted at the Continuing

Restaurants, including the sale of alcohol by the Buyer either on its own behalf, or on behalf of

one or more of the Debtors, without first obtaining relief from this Court. TheTo the greatest

extent allowable under applicable law, the Buyer may continue to operate at the Continuing

Restaurants under existing Liquor Licenses and other Permits needed to operate at the

Continuing Restaurants, with no interruption of the business conducted at the premises, until the

Liquor License Approvals have been obtained and other Permits have been transferred or issued

to the Buyer; provided, however, to the extent such operation by the Buyer under the existing

Liquor Licenses gives rise to any liability against the Debtors the Buyer shall fully indemnify the

Debtors, or any successor in interest to the Debtors, including a chapter 11 trustee or chapter 7

trustee, for any and all costs and liabilities arising therefrom.

                    16.   Possession of any and all alcohol Inventory shall be surrendered to the

Buyer at the earliest of (a) immediately following Closing where allowed by applicable Law; (b)

receipt by the Buyer of authorization from the applicable Governmental Entity where required by

applicable Law; or (c) receipt by the Buyer of the applicable Liquor License or Liquor License

Approval and the Debtors shall not purchase or sell alcohol Inventory after the Closing for the

Buyers or any other party; provided that, notwithstanding the foregoing, legal possession of such

Inventory shall not be surrendered to the Buyer if doing so would violate applicable law in each

applicable jurisdiction..



                                                - 26 -
DOCS_SF:104202.11
           Case:20-01947-jwb          Doc #:358 Filed: 10/12/2020         Page 86 of 108




                    17.   If, and only if, the real estate lease, dated as of June 10, 2014, between

Liberty Maynard, L.L.C. and HopCat Ann Arbor, LLC, is not assumed and assigned to the Buyer

or its designee in accordance with the Purchase Agreement on the Closing Date, the Michigan

Class C Liquor License associated with such lease shall not be a Purchased Asset under the

Purchase Agreement and shall be abandoned to Liberty Maynard, L.L.C. and HopCat Ann Arbor,

LLC on the Closing Date.

                    18.   No Successor or Other Derivative Liability. Upon the Closing, all Persons

are permanently and forever prohibited from asserting against Buyer or the Purchased Assets any

Lien arising under any theory of successor or transferee liability, de facto merger, or continuity

liability, whether known or unknown as of the Closing, now existing or hereafter arising, asserted

or unasserted, fixed or contingent, liquidated, or unliquidated.

                    19.   This Order shall be effective as a determination that, upon the Closing, all

Liens as to the Purchased Assets prior to the Closing have been unconditionally released,

discharged, and terminated to the fullest extent permitted by applicable Law, and that the

conveyances described herein have been effected. In connection with the Closing, a certified

copy of this Order may be filed and/or recorded with the appropriate filing agents, filing officers,

administrative agencies or units, governmental departments, secretaries of state, federal, state,

and local officials, and all other persons, institutions, agencies, and entities who may be required

by operation of law, the duties of their office, or contract evidencing the release, cancelation, and

termination provided herein of any Liens of record on the Purchased Assets prior to the date of

this Order.

                    20.   Following the Closing, no holder of any Lien shall interfere with Buyer’s

title to or use or enjoyment of the Purchased Assets based on or related to any Lien or based on



                                                 - 27 -
DOCS_SF:104202.11
           Case:20-01947-jwb          Doc #:358 Filed: 10/12/2020          Page 87 of 108




any actions or omissions by the Debtors, including any actions or omissions the Debtors may

take in these chapter 11 cases.

                    21.   If any Person that has filed statements or other evidence of Liens in respect

of the Purchased Assets shall not have delivered to the Debtors before the Closing after due

demand therefor, in proper form for filing and executed by the appropriate parties, termination

statements, instruments of satisfaction, releases of liens and easements, and any other documents

necessary for the purpose of documenting the release of such interests that such Person has or

may assert with respect to the Purchased Assets, the Debtors or Buyer are authorized to execute

and file such statements, instruments, releases, and other documents on behalf of such Person

with respect to such Purchased Assets without any further Order of the Court.

                    22.   Except as expressly set forth in the Purchase Agreement or, the Ancillary

Agreements or this Order, and except with respect to the Assumed Contracts, Buyer and each of

its affiliates, successors, assigns, members, partners, officers, directors, principals, and

shareholders shall have no liability whatsoever for any Liens, whether known or unknown as of

the Closing, now existing or hereafter arising, whether fixed or contingent, whether liquidated or

unliquidated, whether asserted derivatively or vicariously, whether asserted based on Buyer’s

status as a transferee, successor, or otherwise, of any kind, nature, or character whatsoever,

including Liens based on, relating to, or arising under, without limitation: (a) any employment or

labor agreement; (b) any pension, welfare, compensation, or other Employee Benefit Plan,

agreements, practices, and programs, including, without limitation, any pension or Employee

Benefit Plan of or related to any of the Debtors or any Debtor’s affiliates or predecessors or any

current or former employees of any of the foregoing; (c) the Debtors’ business operations or the

cessation thereof; (d) any litigation involving one or more of the Debtors; (e) any employee,



                                                  - 28 -
DOCS_SF:104202.11
           Case:20-01947-jwb            Doc #:358 Filed: 10/12/2020             Page 88 of 108




workers’ compensation, occupational disease or unemployment or temporary disability related

law, including, without limitation, any claims, rights, or causes of action that might arise under or

pursuant to (i) the Employee Retirement Income Security Act of 1974, as amended, (ii) the Fair

Labor Standards Act, (iii) Title VII of the Civil Rights Act of 1964, (iv) the Federal

Rehabilitation Act of 1973, (v) the Worker Adjustment and Retraining Notification Act of 1988,

(vi) the Age Discrimination and Employee Act of 1967 and Age Discrimination in Employment

Act, as amended, (vii) the Americans with Disabilities Act of 1990, (viii) the Consolidated

Omnibus Budget Reconciliation Act of 1985, (ix) state and local discrimination laws, (x) state

and local unemployment compensation laws or any other similar state and local laws, (xi) state

workers’ compensation laws, or (xii) any other state, local, or federal employee benefit laws,

regulations, or rules or other state, local, or federal laws, regulations or rules relating to, wages,

benefits, employment, or termination of employment with any or all Debtors or any of their

predecessors; (f) any antitrust laws; (g) any product liability or similar laws, whether state,

federal, or otherwise; (h) any environmental laws, rules, or regulations, including, without

limitation, under the Comprehensive Environmental Response, Compensation, and Liability Act,

42 U.S.C. §§ 9601, et seq., or similar state statutes; (i) any bulk sales or similar laws; (j) any

federal, state, or local tax statutes, rules, regulations, or ordinances, including, without limitation,

the Internal Revenue Code of 1986, as amended; and (k) any common law doctrine of de facto

merger,    successor,     transferee,    or   vicarious     liability,   substantial   continuity liability,

successor-in-interest liability theory, or any other theory of or related to successor liability.

                    23.   Upon the Closing, this Order shall be construed and shall constitute for

any and all purposes a full and complete general assignment, conveyance, and transfer of the




                                                   - 29 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020        Page 89 of 108




Purchased Assets transferring good and marketable, indefeasible title to and interest in all of the

Purchased Assets to Buyer pursuant to the terms of the Purchase Agreement.

                    24.   Assumption and Assignment of the Assumed Contracts. Subject to and

conditioned upon the Closing, the Debtors are hereby authorized in accordance with sections

105(a) and 365 of the Bankruptcy Code to assume and assign the Assumed Contracts to Buyer

free and clear of all Liens, and to execute and deliver to Buyer such documents or other

instruments as may be necessary to assign and transfer the Assumed Contracts to Buyer as

provided in the Purchase Agreement. In accordance with the Bid Procedures Order and the terms

of this Order, following the Closing, Buyer shall be fully and irrevocably vested with all of the

Debtors’ right, title, and interest in and under the Assumed Contracts, free and clear of any Liens,

and each Assumed Contract shall be fully enforceable by Buyer in accordance with its respective

terms and conditions, except as limited by this Order. For the avoidance of doubt, nothing in this

paragraph affects Buyer’s right to re-designate an Assumed Contract for rejection in accordance

with Section 2.6(b) of the Purchase Agreement.

                    25.   In connection with the assumption and assignment of the Assumed

Contracts to Buyer in accordance with the terms of this Order and Section 2.6 of the Purchase

Agreement, the Debtors are authorized, upon the written consent of Buyer, to enter into any

amendment, modification, or similar agreement with a Counterparty to an Assumed Contract to

modify the terms of such Assumed Contract prior to the effective date of assignment of such

Assumed Contract to Buyer.

                    26.   Adequate Assurance of Future Performance. All of the requirements of

sections 365(b) and 365(f) of the Bankruptcy Code, including without limitation, the

demonstration of adequate assurance of future performance, have been satisfied for the



                                               - 30 -
DOCS_SF:104202.11
             Case:20-01947-jwb       Doc #:358 Filed: 10/12/2020       Page 90 of 108




assumption by the Debtors, and the assignment by the Debtors to Buyer, solely with respect to

the Assumed Contracts.         Buyer has satisfied its adequate assurance of future performance

requirements with respect to the Assumed Contracts and has demonstrated it is sufficiently

capitalized or otherwise able to comply with the necessary obligations under the Assumed

Contracts.

                    27.   Cure Costs. The Cure Costs set forth on Exhibit A annexed hereto (the

“Final Cure Schedule”) are the sole amounts, if any, necessary under sections 365(b)(1)(A) and

(B) and 365(f)(2)(A) of the Bankruptcy Code, except as otherwise agreed to in writing by the

Buyer and the applicable Counterparty with respect to such Cure Cost, to cure all defaults and

pay all actual losses under the Assumed Contracts. To the extent a Counterparty to an Assumed

Contract failed to timely object to a Cure Cost, such Cure Cost has been and shall be deemed to

be finally .determined as of the Debtors’ filing of the Notice of Potential Assignment or if the

cure amount was otherwise agreed to in writing between the Debtor and the

Counterpartydetermined as set forth on the Final Cure Schedule, and any such Counterparty shall

be barred, and forever prohibited from: (i) challenging, objecting to, or denying the validity and

finality of the Cure Cost as of such datesthe Closing Date, and from(ii) asserting against the

Debtors, their estates, Buyer, and their respective successors and assigns, any pecuniary loss

resulting from a default or unpaid obligation allegedly arising or occurring before the Closing,

any pecuniary loss resulting from such default, or any other obligation under the Assumed

Contracts arising or incurred prior to the Closingbefore the Closing Date.

                    28.   Payment of Cure Costs. Except as otherwise specifically provided for by

order of the Court, or as otherwise agreed to in writing between the Debtor and the Counterparty,

all defaults or other obligations of the Debtors under the Assumed Contracts arising or accruing



                                                - 31 -
DOCS_SF:104202.11
             Case:20-01947-jwb       Doc #:358 Filed: 10/12/2020        Page 91 of 108




prior to the Closing Date or required to be paid pursuant to section 365 of the Bankruptcy Code

in connection with the assumption and assignment of the Assumed Contracts (in each case,

without giving effect to any acceleration clauses or any default provisions of the kind specified in

section 365(b)(2) of the Bankruptcy Code), whether monetary or non-monetary, shall be

promptly cured pursuant to the terms of the Purchase Agreement and this Order by the Debtors’

payment of the applicable Cure Cost in accordance with the Purchase Agreement and as set forth

on the Final Cure Schedule. The failure of the Debtors or Buyer to enforce at any time one or

more terms or conditions of any Assumed Contract shall not be a waiver of such terms or

conditions, or of the Debtors’ and Buyer’s rights to enforce every term and condition of such

Assumed Contract.

                    28.   With respect to objections to any Cure Costs that remain unresolved as of

the Sale Hearing, consideration of unresolved Cure Objections (as defined in the Bid Procedures

Order) relating to assignment of Assumed Contracts, unless otherwise ordered by the Court or

with the consent of the Counterparty to any Assumed Contract that is subject to a Cure Objection

relating to such assignment, shall be adjourned to a date to be determined in advance of Closing;

provided, however, that any Assumed Contract that is the subject of a Cure Objection with

respect solely to the amount of the Cure Cost may be assumed and assigned prior to resolution of

such objection.

                    29.   The respective Cure Costs set forth on Exhibit A hereto are the sole

amounts, if any, necessary under sections 365(b)(1)(A) and (B) and 365(f)(2)(A) of the

Bankruptcy Code, except as otherwise agreed to by the Buyer and the applicable Counterparty

with respect to such Cure Cost, to cure all defaults and pay all actual losses under the Assumed

Contracts.



                                                - 32 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020      Page 92 of 108




                    29.   30. Buyer’s Standing; Debtors’ Standing. The Buyer shall have standing

to object to the allowance of claims (as such term is defined in section 101(5) of the Bankruptcy

Code) asserted against the Debtors or their estates including, without limitation, any unresolved

or disputed Assumed Liabilities or otherwise, that constitute obligations assumed by the Buyer

pursuant to the terms of the Purchase Agreement. Nothing in this Order shall divest the Debtors

of their standing or duty as debtors-in-possession under the Bankruptcy Code from reconciling

claims asserted against the Debtors or their estates and objecting to any such claims that should

be reduced, reclassified, or otherwise disallowed.

                    30.   31. Ipso Facto Clauses Ineffective.    With respect to the Assumed

Contracts, in connection with the Sale Transaction: (a) the Debtors may assume each of the

Assumed Contracts in accordance with section 365 of the Bankruptcy Code; (b) the Debtors may

assign each Assumed Contract in accordance with sections 363 and 365 of the Bankruptcy Code,

and any provisions in any Assumed Contract that prohibit or condition the assignment of such

Assumed Contract or allow the party to such Assumed Contract to terminate, recapture, impose

any penalty, condition renewal or extension, or modify any term or condition upon the

assignment of such Assumed Contract, constitute unenforceable anti-assignment provisions

which are void and of no force and effect; (c) all other requirements and conditions under

sections 363 and 365 of the Bankruptcy Code for the assumption by the Debtors and assignment

to the Buyer of each Assumed Contract have been satisfied; and (d) effective upon the Closing

Date or any later applicable effective date with respect to a particular Assumed Contract, the

Assumed Contracts shall be transferred and assigned to, and from and following the Closing or

such later applicable effective date shall remain in full force and effect for the benefit of, the

Buyer, notwithstanding any provision in any Assumed Contract (including those of the type



                                               - 33 -
DOCS_SF:104202.11
           Case:20-01947-jwb      Doc #:358 Filed: 10/12/2020         Page 93 of 108




described in sections 365(b)(2) and (e) of the Bankruptcy Code) that prohibits, restricts, or

conditions such assignment or transfer and, pursuant to section 365(k) of the Bankruptcy Code,

the Buyer shall be deemed to be substituted for the applicable Debtor as a party to the applicable

Assumed Contract and the Debtors shall be relieved from any further liability with respect to the

Assumed Contracts after such assumption by the Debtors and assignment to the Buyer, except as

otherwise provided in the Purchase Agreement. To the extent any provision in any Assumed

Contract assumed and assigned pursuant to this Order (x) prohibits, restricts, or conditions, or

purports to prohibit, restrict, or condition, such assumption and assignment (including, without

limitation, any “change of control” provision), or (y) is modified, breached, or terminated, or

deemed modified, breached, or terminated by any of the following: (i) the commencement of the

chapter 11 cases, (ii) the insolvency or financial condition of any of the Debtors at any time

before the closing of the chapter 11 cases, (iii) the Debtors’ assumption and assignment of such

Assumed Contract, (iv) a change of control or similar occurrence; or (v) the consummation of the

Sale Transaction, then such provision shall be deemed modified in connection with the Sale

Transaction so as not to entitle the Counterparty to prohibit, restrict, or condition such

assumption and assignment, to modify, terminate, or declare a breach or default under such

Assumed Contract, or to exercise any other default-related rights or remedies with respect

thereto, including without limitation, any such provision that purports to allow the Counterparty

to terminate or recapture such Assumed Contract, impose any penalty, additional payments,

damages, or other financial accommodations in favor of the Counterparty thereunder, condition

any renewal or extension thereof, impose any rent acceleration or assignment fee, or increase or

otherwise impose any other fees or other charges in connection therewith. All such provisions




                                              - 34 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020        Page 94 of 108




constitute unenforceable anti-assignment provisions that are void and of no force and effect in

connection with the Sale pursuant to sections 365(b), 365(e), and 365(f) of the Bankruptcy Code.

                    32.   Buyer Backstop Amount. In the event that, as of the Closing Date, the

Buyer has not reached an agreement with (a) Gordon Food Service, Inc. (“GFS”) to resolve the

Objection to Adequate Assurance of Future Performance Provided by Stalking Horse Bidder

[Docket No. 288] and the Limited Objection to Notice of Assumption and Assignment of

Executory Contract and Unexpired Leases [Docket No. 228] or (b) an alternative foodservice

distributor to materially fulfill the services and provision of goods that are currently fulfilled by

GFS to the Debtors, the Debtors shall have the right to increase the Backstop Amount and the

Excluded Cash Deficiency Amount to account for GFS’s full cure amount.

                    31.   33. Use of PPP Cash. From the date hereof through and including the

Closing Date, the Sellers shall use the PPP Cash to (a) pay the Cure Amounts related to any

Assumed Contract for Leased Real Property, and, to the extent there is any PPP Cash remaining,

(b) use the remaining PPP Cash to pay the payroll (and any Taxes related thereto) of the

Transferred Employees until no PPP Cash remains; provided, however, if (x) the Closing Date is

after 12:01 a.m. (Eastern Time) on October 19, 2020 and (y) no PPP Cash remains, then the

Buyer shall reimburse the Debtors’ estates for each dollar of non-PPP Cash used for authorized

PPP expenses (e.g., rent, payroll, utilities, etc.) after 12:01 a.m. (Eastern Time) on October 19,

2020. Notwithstanding anything in the Purchase Agreement or this Order to the contrary, and for

the avoidance of doubt, to the extent this paragraph 3331 conflicts with any other terms of the

Purchase Agreement (including but not limited to Sections 2.1(a) 2.3(a), 2.3(d), and 5.9), the

terms of this paragraph 3331 shall prevail.




                                               - 35 -
DOCS_SF:104202.11
            Case:20-01947-jwb             Doc #:358 Filed: 10/12/2020                Page 95 of 108




                    32.     The Debtors shall use commercially reasonable efforts to provide the

Committee and any liquidating or chapter 7 trustee, as applicable, with all documentation

necessary to seek forgiveness of any amounts outstanding under any loan received by the Debtors

under the Coronavirus Aid, Relief and Economic Security Act’s Paycheck Protection Program.

The Debtors shall reasonably cooperate with the Committee and any liquidating or chapter 7

trustee, as applicable, in pursuing any application requirements for such forgiveness.

                    33.    34. Wind-Down Budget.3               Upon the entry of an order closing(a)

dismissing these chapter 11 cases, or (b) converting these chapter 11 cases to cases under chapter

7, to the extent there are any funds remaining in the Wind-Down Budget, such remaining funds

shall be turned over to the Prepetition LendersSecured Lenders. The Wind-Down Budget shall

account for the aggregate allowed fees and expenses payable and/or reimbursable by the Debtors

to the Committee’s professionals, Sugar Felsenthal Grais & Helsinger, LLP, Jaffe Raitt Heuer &

Weiss, P.C., and Amherst Partners, in an amount not greater than $299,297.00. The aggregate

allowed fees payable and expenses reimbursable by the Debtors to their retained professionals

Pachulski Stang Ziehl & Jones LLP, Warner Norcross + Judd LLP, and Rock Creek Advisors,

LLC, shall not be greater than 107.5 percent of the sum of total amounts budgeted to such

professionals as set forth in the Wind-Down Budget.4 Additionally, Buyer shall assume all

liabilities related to: (a) any Cure Costs associated with the assumption of the lease agreement

between Ionia Ventures, LLC and debtor GRBC Holdings, LLC and (b) any credit card


3
    For the avoidance of doubt, the Wind-Down Budget is predicated on the closing of the Sale Transaction
  occurring on or before October 19, 2020. The Debtors, the Buyer and the Committee shall work in good faith to
  prepare a revised Wind-Down Budget in the event that the Sale Transaction fails to close on or before October 19,
  2020.
4
    For the avoidance of doubt, the fees payable and expenses reimbursable by the Debtors to Mastodon Ventures,
  Inc., shall not be subject to such permitted variance but shall, instead, be subject to the amounts approved by the
  Order (I) Authorizing the Retention and Employment of Mastodon Ventures, Inc. as Investment Banker to the
  Debtors, Nunc Pro Tunc to the Petition Date, (II) Waiving the Information Requirements of Local Rule 2016-2(d),
  and (III) Granting Related Relief [Docket No. 274], as reflected in the Wind-Down Budget.

                                                       - 36 -
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020      Page 96 of 108




interchange fees and real estate property taxes in excess of the amounts set forth in the

Wind-Down Budget.

                    34.   35. Good Faith; Statutory Mootness. Buyer is a good faith purchaser

within the meaning of section 363(m) of the Bankruptcy Code and, as such, is entitled to, and is

hereby granted, the full rights, benefits, privileges, and protections of section 363(m) of the

Bankruptcy Code. The Sale Transaction contemplated by the Purchase Agreement and the

Ancillary Agreements is undertaken by Buyer without collusion and in good faith, as that term is

defined in section 363(m) of the Bankruptcy Code, and accordingly, the reversal or modification

on appeal of the authorization provided herein shall neither affect the validity of the Sale

Transaction (including the assumption and assignment of the Assumed Contracts) nor the

transfer of the Purchased Assets to Buyer, free and clear of all Liens pursuant to the Purchase

Agreement. The Debtors and Buyer will be acting in good faith if they proceed to consummate

the Sale Transaction at any time after entry of this Order.

                    35.   36. No Avoidance of Purchase Agreement. Neither the Debtors nor the

Buyer has engaged in any conduct that would cause or permit the Purchase Agreement to be

avoided or costs or damages to be imposed under section 363(n) of the Bankruptcy Code.

Accordingly, the Purchase Agreement and the Sale Transaction shall not be avoidable under

section 363(n) of the Bankruptcy Code, and no party shall be entitled to any damages or other

recovery pursuant to section 363(n) of the Bankruptcy Code in respect of the Purchase

Agreement or the Sale Transaction.

                    36.   37. Modification of Purchase Agreement. Subject to the terms of the

Purchase Agreement and the Ancillary Agreements, as applicable, the Purchase Agreement, the

Ancillary Agreements, and any related agreements, documents, or other instruments may be



                                               - 37 -
DOCS_SF:104202.11
           Case:20-01947-jwb          Doc #:358 Filed: 10/12/2020        Page 97 of 108




modified, amended, or supplemented through a written document signed by the parties thereto in

accordance with the terms thereof and this Order without further order of the Court; provided

that; (a) notwithstanding any such modification, amendment, or supplement, the sale of the

Purchased Assets to Buyer will still comply with the requirements of section 363 of the

Bankruptcy Code; and (b) such modifications, amendment, or supplement is not inconsistent

with this Order.

                    37.   38. Record Retention.       Following the Closing, the Debtors, their

successors and assigns, and any trustee in bankruptcy will have access to the Debtors’ books and

records for the specified purposes set forth in, and subject to the terms and limitations contained

in, the Purchase Agreement. To the extent that the Debtors maintain books and records

electronically, an electronic copy of such books and records shall remain with the Debtors after

the Closing.

                    38.   39. Standing. The Purchase Agreement shall be in full force and effect,

regardless of any Debtor’s lack of good standing in any jurisdiction in which such Debtor is

formed or authorized to transact business.

                    39.   40. Bulk Sales; Taxes. No bulk sales law, bulk transfer law, or any similar

law of any state or other jurisdiction shall apply to the Debtors’ conveyance of the Purchased

Assets or this Order.

                    40.   41. Reservation of Rights. Nothing in this Order shall be deemed to

waive, release, extinguish, or estop the Debtors or their estates from asserting or otherwise impair

or diminish any right (including any right of recoupment), claim, cause of action, defense, offset,

or counterclaim in respect of any asset that is not a Purchased Asset. All of the provisions of this

Order are non-severable and mutually dependent. To the extent that this Order is inconsistent



                                                 - 38 -
DOCS_SF:104202.11
           Case:20-01947-jwb          Doc #:358 Filed: 10/12/2020        Page 98 of 108




with any prior order or pleading with respect to the Motion in these chapter 11 cases, the terms of

this Order shall control.

                    41.   42. Conflicts. In the event there is a conflict between this Order and the

Purchase Agreement (including any Ancillary Agreements executed in connection therewith),

this Order shall control and govern.

                    42.   43. Waiver of Bankruptcy Rules 6004(h) and 6006(d). Notwithstanding

the provisions of rules 6004(h) and 6006(d) of the Bankruptcy Rules or any applicable provisions

of the Local Bankruptcy Rules for the United States Bankruptcy Court for the Western District of

Michigan, this Order shall not be stayed after the entry hereof, but shall be effective and

enforceable immediately upon entry, and the fourteen-day stay provided in rules 6004(h) and

6006(d) of the Bankruptcy Rules is hereby expressly waived and shall not apply, and the Debtors

and Buyer are authorized and empowered to close the Sale Transaction immediately upon entry

of this Order.

                    43.   44. Personally Identifiable Information. After giving due consideration to

the facts, circumstances, and conditions of the Purchase Agreement, the Sale Transaction is

consistent with the Debtors’ privacy policies concerning personally identifiable information and

no showing was made that the sale of any personally identifiable information contemplated in the

Purchase Agreement, subject to the terms of this Order, would violate applicable non bankruptcy

law.

                    44.   45. Binding Effect of this Order. This Order and the Purchase Agreement

shall be binding in all respects upon, and shall inure to the benefit of, Buyer, the Debtors’ estates,

the Debtors, their affiliates, any trustee appointed in the Debtors’ chapter 11 cases, all creditors

(whether known or unknown) of any Debtor, all holders of interests in the Purchased Assets, all



                                                 - 39 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020        Page 99 of 108




interested parties, and their successors and assigns. Any trustee appointed for the Debtors under

any provision of the Bankruptcy Code, whether the Debtors are proceeding under chapter 7 or

chapter 11 of the Bankruptcy Code, shall be authorized to (a) operate the business of the Debtors

to the fullest extent necessary to permit compliance with the terms of the Purchase Agreement

and the Ancillary Agreements and (b) perform under the Purchase Agreement and the Ancillary

Agreements without the need for further order of this Court.

                    45.   46. Subsequent Plan Provisions. Nothing contained in any chapter 11 plan

confirmed in the Debtors’ chapter 11 cases, any order confirming any such plan, or in any other

order in these chapter 11 cases (including any order entered after any conversion of any of these

chapter 11 cases to a case under chapter 7 of the Bankruptcy Code) or any related proceeding

subsequent to entry of this Order shall alter, conflict with, or derogate from the provisions of the

Purchase Agreement or this Order.

                    46.   47. Retention of Jurisdiction. This Court retains exclusive jurisdiction

with respect to all matters arising from or related to the Purchase Agreement (and such other

related agreements, documents, or other instruments) and to interpret, implement, and enforce the

terms of this Order.

                    47.   Prepetition Secured Lenders’ Deficiency Claim.          Notwithstanding

anything to the contrary contained in this Order or the Purchase Agreement, effective as of the

Closing (but only if the Closing actually occurs), the Prepetition Lenders shall waive, and receive

no distribution on account of, any and all unsecured deficiency claims with respect to the

Prepetition Obligations.

                    48.   Additional Cash Consideration for Purchased Assets. Notwithstanding

anything to the contrary contained in this Order or the Purchase Agreement, as additional



                                                - 40 -
DOCS_SF:104202.11
           Case:20-01947-jwb         Doc #:358 Filed: 10/12/2020         Page 100 of 108




consideration for the sale and transfer of the Purchased Assets, the Purchase Price shall include

$225,000 in cash, payable by the Buyer to the Debtors on the Closing Date (but only if the

Closing actually occurs), to be held in escrow until confirmation of a chapter 11 plan or

conversion of these cases, and to be used exclusively by any chapter 11 trustee or chapter 7

trustee, acting on behalf of the Debtors’ estates, as applicable, at his or her discretion, with any

remainder to be distributed to creditors pursuant to the Bankruptcy Code.

                    49.   Debtors’ Claims and Causes of Action. Notwithstanding anything to the

contrary contained in this Order or the Purchase Agreement, all Purchased Actions shall

comprise Excluded Assets and shall not comprise Purchased Assets, except for any claims or

causes of action against a trade vendor and/or service provider that the Buyer reasonably expects

to provide goods and/or services to the Buyer upon and/or after the Closing Date, identified on

Exhibit C attached hereto (each entity identified therein, an “Ongoing Business Party”), which

claims and causes of action shall remain Purchased Assets under the Purchase Agreement;

provided that Excluded Assets shall further include any claims and causes of action against a

non-Debtor transferee of assets, including but not limited to any Ongoing Business Party, that

received such assets from or at the direction of any director or officer (including, but not limited

to, Mark Sellers) for the primary benefit of such director or officer individually.

                    50.   Releases. Effective as of the Closing Date (but only if the Closing actually

occurs), the Prepetition Secured Lenders, Administrative Agent, Buyer, Debtors, Committee, and

members of the Committee (solely in their roles as Committee members and not as individual

creditors) and their respective professionals (collectively, the “Release Parties”) will be deemed

released and discharged by each and all of the other Release Parties and the Debtors’ estates from

any and all claims, obligations, rights, suits, damages, causes of action, remedies, and liabilities



                                                 - 41 -
DOCS_SF:104202.11
           Case:20-01947-jwb        Doc #:358 Filed: 10/12/2020        Page 101 of 108




whatsoever, including any derivative claims, asserted or assertable on behalf of any of the

Release Parties or the Debtors’ estates, as applicable, whether known or unknown, foreseen or

unforeseen, existing in law, equity, or otherwise, that the Release Parties or the Debtors’ estates

would have been legally entitled to assert in their own right (whether individually or collectively)

or on behalf of the holder of any claim against, or interest in, the Debtors or other entity, based

on or relating to, or in any manner arising from, in whole or in part, the Debtors’ bankruptcy

cases, the Debtors’ sale of assets to the Buyer in accordance with this Order and the Purchase

Agreement, the Bid Procedures, Credit Bid, or any Sale Transaction or any other transaction,

contract, instrument, release, or other agreement or document created or entered into in

connection with the Purchase Agreement, Ancillary Agreements, or this Order, including but not

limited to any claims under section 506(c) of the Bankruptcy Code; provided that any right to

enforce this Order and any right of estate professionals to seek allowance and payment of

professional fees is not so released by this paragraph.

                    51.   Insurance Claims. Nothing in the Purchase Agreement or this Order shall

be construed to waive, release or otherwise impact any claims that the Buyer may have to pursue

or receive the proceeds from claims under the Insurance Policies pursuant to Section 6.7 of the

Purchase Agreement (excluding any directors’ and officers’ liability Insurance Policies).

Nothing in the Purchase Agreement or this Order shall be construed to waive, release or

otherwise impact any claims that a chapter 11 or chapter 7 trustee may pursue on behalf of the

Debtors’ estates with respect to the Debtors’ directors and officers or their directors and officers

Insurance Policies.

                    52.   U.S. Trustee Fees. The U.S. Trustee shall not assess, claim, or seek to

charge any of the Debtors, their estates, the Buyer, the Administrative Agent, or the Prepetition



                                                - 42 -
DOCS_SF:104202.11
           Case:20-01947-jwb     Doc #:358 Filed: 10/12/2020        Page 102 of 108




Secured Lenders for any fees or charges related to or arising from any Sale Transaction approved

by this Order.


Dated: _________, 2020                         ___________________________________
       Grand Rapids, Michigan                  The Honorable James W. Boyd
                                               United States Bankruptcy Judge




                                             - 43 -
DOCS_SF:104202.11
Case:20-01947-jwb   Doc #:358 Filed: 10/12/2020   Page 103 of 108




                    EXHIBIT C
              Comparison of Cure Amounts
                                      Case:20-01947-jwb   Doc #:358 Filed: 10/12/2020   Page 104 of 108



                                                    EXECUTORY CONTRACTS

                                                                                                             Cure Amount
                                                                                                            in Assumption Agreed Upon Cure for
             Debtor                 Counter Party                           Contract Description                Notice         Sale Order
Barfly Ventures, LLC   Accident Fund Insurance Company of America
                                                            Workers Compensation Insurance                           $0.00                $0.00
Barfly Ventures, LLC   Admiral Insurance Company            Excessive Liability Insurance                            $0.00                $0.00
Hopcat Beltline        ArrowWaste Inc.                      Trash and recycling services                             $0.00                $0.00
GRBC Holdings, LLC     ArrowWaste Inc.                      Trash and recycling services                             $0.00                $0.00
50 Amp Fuse, LLC       ArrowWaste Inc.                      Trash and recycling services                             $0.00                $0.00
Hopcat Grand Rapids    ArrowWaste Inc.                      Trash and recycling services                             $0.00                $0.00
Barfly Ventures, LLC   AvidXchange Inc.                     Payment network services                             $4,979.55                $0.00
Barfly Ventures, LLC   Blackhawk Network                    Gift cards                                               $0.00                $0.00
Hopcat Holland         Coverall of Western Michigan         Janitorial services                                  $1,029.75                $0.00
Barfly Ventures, LLC   DoorDash, Inc.                       delivery services                                        $0.00                $0.00
Hopcat Broad Ripple    DVCLEANINDY, LLC                     Cleaning services                                    $8,822.29                $0.00
Barfly Ventures, LLC   ECOLAB                               warehousing, housekeeping, laundry, and other       $16,929.29          $16,929.29
                                                            cleaning and santizing chemical products
Barfly Ventures, LLC   eFileCabinet                         document management software services                   $0.00                $0.00
Barfly Ventures, LLC   Egencia LLC                          Travel services/assisted booking                        $0.00                $0.00
EL Brewpub             Enviro - Master of West Michigan     Janitorial                                            $422.69                $0.00
Hopcat Beltline        Enviro - Master of West Michigan     Janitorial                                            $422.69                $0.00
Hopcat Kalamazoo       Enviro - Master of West Michigan     Janitorial                                            $422.69                $0.00
GRBC Holdings          Enviro - Master of West Michigan     Janitorial                                            $422.69                $0.00
Hopcat Grand Rapids    Enviro - Master of West Michigan     Janitorial                                            $422.69                $0.00
Stellas                Enviro - Master of West Michigan     Janitorial                                            $422.69                $0.00
                                       Case:20-01947-jwb   Doc #:358 Filed: 10/12/2020   Page 105 of 108



Barfly Ventures, LLC                                                                                                     $750,000 ($250,000 at
50 Amp Fuse, LLC                                                                                                           Closing to be paid by
GRBC Holdings, LLC                                                                                                        Debtor and $500,000
9 Volt, LLC                                                                                                              promissory note to be
Hopcat Ann Arbor, LLC                                                                                                     paid by the Buyer and
Hopcat Detroit, LLC                                                                                                              subject to final
                        Gordon Food Service                   Food distribution                            $1,723,235.78
EL Brewpub, LLC                                                                                                                 documentation)
Hopcat Lexington, LLC
Hopcat Indianapolis
Hopcat Kansas City
Hopcat Lincoln
Hopcat Madison
Barfly Ventures, LLC    HotSchedules.com, Inc                 scheduling software                              $8,046.40             $16,968.00
Hopcat Lincoln          Huskers IMG Sports Marketing          marketing and sponsorship                            $0.00                  $0.00
Barfly Ventures, LLC    Indian Harbor Insurance Company       Umbrella Insurance                                   $0.00                  $0.00
EL Brewpub LLC          My Green Michigan LLC                 Composting services                             $14,823.00                  $0.00
Barfly Ventures, LLC    NCR Corporation                       IT software                                      $6,014.64                  $0.00
Barfly Ventures, LLC    NCR Corporation                       cloud applications                               $6,014.64                  $0.00
Barfly Ventures, LLC    NCR Corporation                       CMC software                                     $6,014.64                  $0.00
Barfly Ventures, LLC    NCR Corporation                       remove loyalty                                   $6,014.64                  $0.00
Barfly Ventures, LLC    Nexonia Technologies Inc.             expense management software                          $0.00                  $0.00
Barfly Ventures, LLC    OLO                                   delivery application                             $4,930.14                  $0.00
Barfly Ventures, LLC    Paytronix Systems, Inc.               IT software services                            $17,535.93             $17,535.93
Barfly Ventures, LLC    Pepsi Beverages Company               Pepsi beverages exclusively                          $0.00                  $0.00
GRBC Holdings, LLC      POSitive Solutions Group              phone support and POS hardware maintenance           $5.00                  $5.00

Hopcat Ann Arbor        POSitive Solutions Group              phone support and POS hardware maintenance           $5.00                   $5.00
                                      Case:20-01947-jwb   Doc #:358 Filed: 10/12/2020   Page 106 of 108



Hopcat Beltline        POSitive Solutions Group              phone support and POS hardware maintenance      $5.00    $5.00

Hopcat Broad Ripple    POSitive Solutions Group              phone support and POS hardware maintenance      $5.00    $5.00

Hopcat Detroit         POSitive Solutions Group              phone support and POS hardware maintenance      $5.00    $5.00

EL Brewpub LLC         POSitive Solutions Group              phone support and POS hardware maintenance      $5.00    $5.00

Hopcat Grand Rapids    POSitive Solutions Group              phone support and POS hardware maintenance      $5.00    $5.00

Hopcat Kalamazoo       POSitive Solutions Group              phone support and POS hardware maintenance      $5.00    $5.00

Hopcat Lincoln         POSitive Solutions Group              phone support and POS hardware maintenance      $5.00    $5.00

50 Amp Fuse, LLC       POSitive Solutions Group              phone support and POS hardware maintenance      $5.00    $5.00

Barfly Ventures, LLC   Red Bull North America, Inc.          energy drink distribution and exclusivity        $0.00   $0.00
Hopcat Detroit         Republic Services                     trash and recycling services                     $0.00   $0.00
Barfly Ventures, LLC   Round It Up America, Inc.             charitable donation collections                  $0.00   $0.00
GRBC Holdings          Swept Away                            Janitorial                                   $1,635.00   $0.00
Grand Rapids           Swept Away                            Janitorial                                   $1,635.00   $0.00
Stellas                Swept Away                            Janitorial                                   $1,635.00   $0.00
Hopcat Beltline        Swept Away                            Janitorial                                   $1,635.00   $0.00
Barfly Ventures, LLC   TBX                                   menu design                                      $0.00   $0.00
Barfly Ventures, LLC   Untappd                               marketing services                           $4,432.75   $0.00
EL Brewpub LLC         Waste Management of Michigan          Trash and recycling services                 $1,922.62   $0.00
Barfly Ventures, LLC   Yelp Inc                              advertising services                             $8.22   $8.22
Barfly Ventures, LLC   Travelers                             General Liability Insurance                      $0.00   $0.00
Barfly Ventures, LLC   Travelers                             Automobile Insurance                             $0.00   $0.00
                                 Case:20-01947-jwb    Doc #:358 Filed: 10/12/2020     Page 107 of 108



                                           ADDITIONAL EXECUTORY CONTRACTS


                  Debtor                   Counter Party                              Contract Description                          Cure Amount


BarFly Ventures            58 Ionia Holdings, LLC                    Equipment Lease for equipment located in Detroit restaurant   $4,165.00
BarFly Ventures            Compeat                                   Back office software provider
                                                                                                                                   $0.00
BarFly Ventures            Wisely                                    Reservation / Table Mgmt. Software                            $0.00
                                                     Case:20-01947-jwb    Doc #:358 Filed: 10/12/2020      Page 108 of 108



                                   UNEXPIRED REAL PROPERTY LEASES
                                                                     Cure Amount in                        Cure Amount in Sale
             Debtor                        Counter Party            Assumption Notice    Filed Objection         Order
GRBC Holdings                  Ionia Ventures, LLC                      $54,004.08      Yes, Dkt. 259          $86,420.96
Hopcat-Detroit                 4265 Woodward Ventures LLC                $23,515.64     No                     $23,515.64
Hopcat-Grand Rapids            Lee Shore-Lemon Wheeler Building          $48,764.37     No                     $48,764.37
Hop Cat-Ann Arbor              Liberty Maynard LLC                       $89,251.75     Yes, Dkt. 220          $50,986.80
Hopcat-E. Lansing/EL Brewpub   A&G Partnership                           $52,323.21     Yes, Dkt. 216          $58,301.54
Hopcat-E. Beltine              JK East Beltline Real Estate               $55,030.38    Yes, Dkt. 223          $61,451.39
Hopcat-Holland                 Greenen Dekock Properties, LLC             $46,640.25    No                     $23,320.13
Hopcat-Indianapolis            6280 LLC                                  $100,932.65    No                    $102,312.12
Hopcat-Kalamazoo               GTW Depot, LLC                             $54,894.59    No                     $54,894.59
Hopcat-Lincoln                 Project Oscar, LLC                         $51,139.17    Yes, Dkt. 217          $50,733.66
Stellas's/50 Amp Fuse LLC      50 Commerce Building, LLC                 $28,211.60     No                     $20,000.00
